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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 NETWORK SYSTEM TECHNOLOGIES, LLC,                   )
                                                     )
                               Plaintiff,            )
                                                     )
                v.                                   )
                                                     )
 QUALCOMM INCORPORATED;                              )   Civil Action No. 1:22-cv-1331
 QUALCOMM TECHNOLOGIES, INC.;                        )
 ARTERIS, INC.,                                      )   JURY TRIAL DEMANDED
                                                     )
                               Defendants.           )
                                                     )
                                                     )


                                            COMPLAINT

       Plaintiff Network System Technologies, LLC (“NST” or “Plaintiff”), by and through its

attorneys, demands a trial by jury on all issues so triable, and for its complaint against Qualcomm

Incorporated, Qualcomm Technologies, Inc., and Arteris, Inc. (collectively, “Defendants”), alleges

as follows:

                                 NATURE OF THE ACTION

       1.      This is a civil action for patent infringement under the patent laws of the United

States, Title 35, United States Code, Section 271, et seq., involving the follow United States

Patents (collectively, “Asserted Patents”) and seeking damages and injunctive relief as provided

in 35 U.S.C. §§ 281 and 283-285.

                     U.S. Patent No. 7,366,818 (Exhibit 1, “’818 patent”)
                     U.S. Patent No. 7,373,449 (Exhibit 2, “’449 patent”)
                     U.S. Patent No. 7,594,052 (Exhibit 3, “’052 patent”)
                     U.S. Patent No. 7,769,893 (Exhibit 4, “’9893 patent”)
                     U.S. Patent No. 8,072,893 (Exhibit 5, “’2893 patent”)
                     U.S. Patent No. 8,086,800 (Exhibit 6, “’800 patent”)
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                                             THE PARTIES

        2.      Plaintiff is a limited liability company formed under the laws of Delaware, with a

principal place of business at 533 Congress Street, Portland, ME 04101. Plaintiff is the owner by

assignment of the Asserted Patents.

        3.      On information and belief, Qualcomm Incorporated is a corporation organized and

existing under the laws of Delaware, having a principal place of business at 5775 Morehouse

Drive, San Diego, California 92121. On information and belief, Qualcomm Incorporated has a

business location in this Judicial District at 9600 N. Mopac, Suite 900, Stonebridge Plaza II,

Austin, Texas 78759. 1 On information and belief, Qualcomm Incorporated may be served in Texas

at least via its registered agent, Prentice Hall Corp System, 211 E. 7th Street, Suite 620, Austin,

Texas 78701.

        4.      On information and belief, Qualcomm Technologies, Inc. (“Qualcomm

Technologies”) is a corporation organized and existing under the laws of Delaware, having a

principal place of business at 5775 Morehouse Drive, San Diego, California 92121.                    On

information and belief, Qualcomm Technologies is a wholly-owned subsidiary of, and is

controlled and directed by, Qualcomm Incorporated and “operates, along with its subsidiaries,

substantially all of Qualcomm’s engineering, research and development functions, and

substantially all of its products and services businesses.” 2 On information and belief, Qualcomm

Technologies has a business location in this Judicial District at 9600 N. Mopac, Suite 900,

Stonebridge Plaza II, Austin, Texas 78759. 3 On information and belief, Qualcomm Technologies




1
  https://www.qualcomm.com/company/facilities/offices?country=USA (last visited December 19, 2022)
(identifying a Qualcomm office at this address in Austin, Texas).
2
  https://www.qualcomm.com (last visited December 19, 2022).
3
  https://www.qualcomm.com/company/facilities/offices?country=USA (last visited December 19, 2022)
(identifying a Qualcomm office at this address in Austin, Texas).


                                                     2
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may be served in Texas at least via its registered agent, Corporation Service Company d/b/a CSC-

Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701.

         5.       Qualcomm Incorporated and Qualcomm Technologies are referred to collectively

hereinafter as “Qualcomm” or “the Qualcomm Defendants.”

         6.       On information and belief, Arteris, Inc. (“Arteris”) is a corporation organized and

existing under the laws of Delaware, having a principal place of business at 595 Millich Drive,

Suite 200, Campbell, California 95008. On information and belief, Arteris has a business location

in this Judicial District at 9601 Amberglen Boulevard, Suite 117, Austin, Texas 78729. 4 On

information and belief, Arteris may be served in Texas at least via its registered agent, CT

Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

         7.       Qualcomm and Arteris are referred to collectively hereinafter as “Defendants.”

         8.       On information and belief, the Defendants are engaged in making, using, offering

for sale, selling, importing, or otherwise providing, within the United States and in particular the

State of Texas and this Judicial District, directly or indirectly, system-on-a-chip products (“SoCs”),

and/or related products and services, with features and functionalities that infringe the Asserted

Patents.

                                       JURISDICTION AND VENUE

         9.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and 1338(a).

         10.      Jurisdiction and venue for this action are proper in this Judicial District.




4
 https://ir.arteris.com (last visited December 19, 2022) (identifying an “Austin Branch” of Arteris at this address in
Austin, Texas); https://www.arteris.com (last visited December 19, 2022) (identifying this address in Austin, Texas
for Arteris and associating this Austin address with an email address regarding Arteris sales in the Americas);
https://ir.arteris.com/node/7391/html (last visited December 19, 2022) (2021 SEC Form 10-K for Arteris states that
Arteris leases an office in Austin, Texas).


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        11.    This Court has personal jurisdiction over Defendants at least because, through a

respective Defendant’s own acts and/or through the acts of each other Defendant acting as its agent,

representative, or alter ego, they (i) have a presence or regular and established place of business in

the State of Texas and this Judicial District; (ii) have purposefully availed themselves of the rights

and benefits of the laws of the State of Texas and this Judicial District; (iii) have done and are

doing substantial business in the State of Texas and this Judicial District, directly or through

intermediaries, both generally and, on information and belief, with respect to the allegations in this

Complaint, including their one or more acts of infringement in the State of Texas and this Judicial

District; (iv) maintain continuous and systematic contacts in the State of Texas and this Judicial

District; and/or (v) place products alleged to be infringing in this Complaint in the stream of

commerce, directly or through intermediaries, with awareness that those products are likely

destined for use, offer for sale, sale, and/or importation in the State of Texas and this Judicial

District.

        12.    For example, Defendants have authorized retailers and distributors in the State of

Texas and this Judicial District for the products alleged to be infringing in this Complaint, and

Defendants have derived substantial revenues from their infringing acts occurring within the State

of Texas and this Judicial District.

        13.    Defendants have established sufficient minimum contacts with the State of Texas

and this Judicial District such that they should reasonably and fairly anticipate being brought into

court in the State of Texas and this Judicial District without offending traditional notions of fair

play and substantial justice; and Defendants have purposefully directed activities at residents of

the State of Texas and this Judicial District. Moreover, the patent infringement claims alleged

herein arise out of or are related to one or more of the foregoing activities. On information and




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belief, a substantial part of the events giving rise to Plaintiff’s claims, including acts of patent

infringement, have occurred in the State of Texas and this Judicial District.

        14.      Venue is proper in this Judicial District as to Defendants under 28 U.S.C. §§

1391(b) and 1400(b).

        15.      Venue is proper as to the Qualcomm Defendants because, on information and

belief, they have committed acts of infringement and both share a regular and established place of

business in this Judicial District, as identified above in paragraphs 3–4. 28 U.S.C. § 1400(b). The

Qualcomm Defendants have admitted that they have a regular and established place of business at

this location in this Judicial District. 5 Further, on information and belief, Qualcomm’s business at

this location in Austin, Texas relates to SoCs. 6

        16.      Venue is proper as to Arteris because, on information and belief, it has committed

acts of infringement and has a regular and established place of business in this Judicial District, as

identified above in paragraph 6. 28 U.S.C. § 1400(b). Further, on information and belief, Arteris’s

business at this location in Austin, Texas relates to SoCs. 7


5
  Qualcomm Incorporated and Qualcomm Technologies, Inc.’s Answer, Defenses, and Counterclaims, Future Link
Systems, LLC v. Qualcomm Inc. et al., 6:21-cv-00265, Dkt. 17 at 1, 3 (W.D. Tex. May 28, 2021) (noting that
“Qualcomm” refers to both Qualcomm Incorporated and Qualcomm Technologies collectively—“Defendants
Qualcomm Incorporated and Qualcomm Technologies, Inc. (collectively, ‘Qualcomm’)”—and stating that
“Qualcomm admits that it had an office located at 9600 N. Mopac Expressway, Ste. 900, Stonebridge Plaza II,
Austin, Texas 78759” (emphasis added)); Qualcomm Incorporated’s and Qualcomm Technologies, Inc.’s Answer
and Affirmative Defenses to Plaintiff’s Original Complaint for Patent Infringement, Liberty Patents, LLC v.
Broadcom Inc. et al., 6:20-cv-00970, Dkt. 65 at 1, 7 (W.D. Tex. Jan. 19, 2021) (noting that “Qualcomm” refers to
both Qualcomm Incorporated and Qualcomm Technologies collectively—“Defendants Qualcomm Incorporated and
Qualcomm Technologies, Inc. (collectively, ‘Qualcomm’)”—and “admit[ting] that Qualcomm has a place of
business in this District at 9600 N. Mopac, Suite 900, Stonebridge Plaza II, Austin, Texas 78759” (emphasis
added)). See also https://therealdeal.com/texas/2022/11/01/qualcomm-scoops-90k-sq-ft-in-alexandria-austin-office/
(last visited December 19, 2022 (“Qualcomm scoops 90K-sq-ft in Alexandria Austin office”).
6
  See, e.g., https://qualcomm.wd5.myworkdayjobs.com/en-US/External/job/Sr-SoC-Architecture---Automotive-
Platform-Architect_3021891?locations=4019e639566e0101f246681c33120000 (last visited Dec. 19, 2022) (job
posting for “Sr. SoC Architecture – Automotive Platform Architect” in Austin, Texas).
7
  See, e.g., https://www.arteris.com/careers?p=job/oeKpifwp&nl=1 (last visited December 19, 2022) (job posting for
“Senior Field Application Engineer - Network-on-chip” in Austin, Texas, with a job description related to “System-
on-Chips,” a responsibility of being “an expert on interconnects for System-on-Chips,” and a requirement of “5
years of front-end digital SoC experience”); https://www.arteris.com/careers?p=job/opZBjfw2&nl=1 (last visited



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                                                 JOINDER

          17.    Joinder is proper under at least Federal Rule of Civil Procedure 20 and 35 U.S.C.

§ 299 at least because Defendants’ infringing conduct alleged herein arises out of the same

transaction, occurrence, or series of transactions or occurrences relating to the making, using,

importing into the United States, offering for sale, or selling of the same accused product or

process, or portions thereof, and questions of fact common to all Defendants will arise in this

action.

          18.    On information and belief, Qualcomm makes, uses, imports, offer for sale, and/or

sells accused SoC products that include Arteris SoC technology. Also, on information and belief,

Arteris indirectly infringes based on Qualcomm making, using, importing, offering for sale, and/or

selling those accused SoC products. Thus, the Qualcomm accused SoC products are common to

all Defendants’ infringement of the Asserted Patents, and the factual question of infringement will

thus substantially overlap for all Defendants

          19.    Further, on information and belief, Qualcomm purchases or otherwise obtains SoC

technology from Arteris, and there are licensing or technology agreements between Qualcomm

and Arteris.

          20.    Additionally, on information and belief, Qualcomm hired approximately 43 Arteris

engineers and acquired certain Arteris SoC technology and IP in 2013, licensed such SoC

technology and IP back to Arteris, and provides improvements to, and engineering support for,

such SoC technology and IP to Arteris. 8 On information and belief, the Qualcomm accused SoC

products incorporate certain Arteris SoC technology, and/or derivatives thereof.



December 19, 2022) (job posting for an engineer in Austin, Texas for working on “solutions for … SoC designs,”
with a responsibility of “expertise on complex SoC projects”).
8
  See, e.g., https://www.arteris.com/press-releases/qualcomm-arteris-asset-acquisition-2013_oct_31 (last visited
December 19, 2022); https://www.eetimes.com/qualcomm-buys-arteris-tech-team/ (last visited December 19, 2022).


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                                    THE ASSERTED PATENTS

        21.      The Asserted Patents result from extensive research and development by Philips

Semiconductors, a subsidiary of Koninklijke Philips N.V. (“Philips”) that included VLSI

Technology, Inc., which Philips acquired in 1999. Prior to being spun off in 2006 as NXP

Semiconductors N.V. (“NXP”), Philips Semiconductors was one of the largest semiconductor

companies in the world. Each of the Asserted Patents predate the NXP spin-off and were retained

by Philips until all right, title, and interest in the Asserted Patents were transferred to Plaintiff.

                                      U.S. Patent No. 7,366,818

        22.      Plaintiff is the lawful owner of all right, title, and interest in United States Patent

No. 7,366,818 (the “’818 patent”), entitled “INTEGRATED CIRCUIT COMPRISING A

PLURALITY OF PROCESSING MODULES AND A NETWORK AND METHOD FOR

EXCHANGING DATA USING SAME,” including the right to sue and to recover for infringement

thereof. The ’818 patent was duly and legally issued on April 29, 2008, naming Andrei Radulescu

and Kees Gerard Willem Goossens as inventors. A copy of the ʼ818 patent is attached hereto as

Exhibit 1.

        23.      The ’818 patent has 7 claims: 1 independent claim and 6 dependent claims.

        24.      The ’818 patent covers SoCs that have an interface that comprises a dropping means

for dropping data exchanged by two modules and where the interface can control the dropping of

data and therefore completion of message transactions.

        25.      The claims of the ʼ818 patent, including claim 1 (reproduced below), recite at least

these inventive concepts of the ’818 patent.

              1. Integrated circuit comprising a plurality of processing modules (M, S) said
              modules being disposed on the same chip, and a network (N; RN) arranged for
              providing at least one connection between a first and at least one second module
              (M, S),



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             wherein said modules communicate via a network on chip, and

             wherein said connection supports transactions comprising outgoing messages
             from the first module to the second modules and return messages from the
             second modules to the first module, the integrated circuit comprising at least
             one dropping means (DM) for dropping data exchanged by said first and second
             module (M, S), and

             at least one interface means (ANIP, PNIP) for managing the interface between
             a module (M, S) and the network (N, RN),

             wherein said interface means (ANIP, PNIP) comprises a first dropping means
             (DM) for dropping data, and

             wherein the dropping of data and therefore the transaction completion can be
             controlled by the interface means.

(Exhibit 1, ’818 patent at claim 1.) The subject matter described and claimed by the ’818 patent,

including the integrated circuit of claim 1, was an improvement in the functionality, performance,

and efficiency of integrated circuits and the connections and communication networks thereof and

was novel and not well-understood, routine, or conventional at the time of the ’818 patent.

       26.      Defendants had knowledge of the ’818 patent at least as of the date of this

Complaint.

       27.      The ’818 patent was developed and patented by Philips Semiconductors, one of the

largest semiconductor companies in the world. Because of the size and prominence of Philips in

the tight-knit semiconductor industry, industry participants, including, on information and belief,

Defendants, monitored patenting activity by Philips and reviewed, and were aware of shortly after

their publication, at least the U.S. published patent applications and patents obtained by Philips in

the semiconductor space, including the ’818 patent. On information and belief, such industry

participants, including Defendants, considered Philips’ U.S. published patent applications and

patents in the semiconductor space, including the ’818 patent, and such Philips’ U.S. published




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patent applications and patents’ actual or potential applicability to their own current products and

product roadmaps, including the products described herein.

        28.     The ’818 patent is widely and publicly known, and frequently referenced, in the

tight-knit semiconductor industry, having been cited during prosecution of approximately 76

patent applications assigned to industry leaders such as Intel Corporation, Arm Limited, NEC

Corporation, IBM Corporation, and others. 9

        29.     On information and belief, the ’818 patent, or the application therefor, or a patent

or application related to the ’818 patent, was cited during prosecution of at least one patent

application that was then or later assigned to or prosecuted by Arteris or a predecessor to or affiliate

of Arteris.

        30.     On information and belief, the ’818 patent, or a related patent document, was cited

during the prosecution of FR2900017B1, entitled “EXTERNAL CHIP FUNCTIONAL BLOCK

INTERCONNECTION SYSTEM PROVIDED WITH A SINGLE COMMUNICATION

PARAMETRABLE PROTOCOL,” a patent originally assigned to Arteris SA, with a purported

priority date of April 12, 2006 and issue date of October 31, 2008. 10

        31.     On information and belief, the ’818 patent, or a related patent document, was cited

during the prosecution of FR2904445B1, entitled “SYSTEM FOR MANAGING MESSAGES

TRANSMITTED IN A CHIP INTERCONNECTION NETWORK,” a patent originally assigned

to Arteris SA, with a purported priority date of July 26, 2006 and issue date of October 10, 2008. 11

        32.     The U.S. publication of the ’818 patent’s application, U.S. Patent Publication No.

2006/0041888, was cited, after the ’818 patent had been granted, during the prosecution of U.S.



9
  https://patents.google.com/patent/US7366818B2/en?oq=7%2c366%2c818 (last visited December 19, 2022).
10
   Id.
11
   Id.


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Patent Application No. 11/518,384, entitled “SYSTEM FOR MANAGING MESSAGES

TRANSMITTED IN AN ON-CHIP INTERCONNECT NETWORK,” an application originally

assigned to Arteris SA or Arteris SAS, with a filing date of September 8, 2006 and purported

priority date of July 26, 2006. 12 Further, the cited reference was identified as “pertinent to” U.S.

Patent Application No. 11/518,384. 13

        33.     On information and belief, Arteris SA is a predecessor to, or is otherwise presently

or previously affiliated with, Defendant Arteris. On information and belief, Arteris SAS is a

predecessor to, or is otherwise presently or previously affiliated with Defendant Arteris. On

information and belief Arteris SA and/or Arteris SAS have shared knowledge (e.g., institutional

knowledge) with Arteris regarding competition and intellectual property, such as patent

prosecution and patents, including the ’818 patent. For example, on information and belief, Arteris

SA and/or Arteris SAS have coordinated multi-national patent prosecution with Defendant Arteris.

As a further example, on information and belief, common patent counsel have been shared between

Defendant Arteris and Arteris SA and/or Arteris SAS, or respective patent counsel for the

companies have communicated regarding patents and patent prosecution. Further, on information

and belief, Defendant Arteris and Arteris SA and/or Arteris SAS have had common employees,

such as: employees that hold positions both in Defendant Arteris and in Arteris SA and/or Arteris

SAS; employees that hold a single dual position both for Defendant Arteris and for Arteris SA

and/or Arteris SAS; and employees that have migrated from Arteris SA and/or Arteris SAS to

Defendant Arteris. Therefore, the knowledge of Arteris SA and/or Arteris SAS, at least insofar as

it relates to knowledge of patent prosecution and patents, including the ’818 patent, may be



12
   See https://patents.google.com/patent/US20080028090A1/en?oq=US20080028090A1 (last visited December 19,
2022); Notice of References Cited dated Nov. 23, 2009, File History of U.S. Pat. App. No. 11/518,384.
13
   Office Action dated Nov. 23, 2009, File History of U.S. Pat. App. No. 11/518,384.


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imputed to Defendant Arteris. For convenience, Arteris SA and/or Arteris SAS may be referred

to below as Arteris’s “predecessors.”

       34.     On information and belief, Arteris and its predecessors sought to obtain valid and

enforceable patents for themselves.

       35.     Therefore, on information and belief, Arteris and its predecessors were aware of,

and considered and analyzed the inventions described and claimed in, all patents and patent

applications cited during the prosecution of their own patent applications.

       36.     On information and belief, Arteris and its predecessors sought to develop their

products and product roadmaps, including the products described herein, in ways that would not

infringe U.S. patents in the semiconductor space.

       37.     Therefore, on information and belief, Arteris and its predecessors monitored U.S.

published patent applications and patents obtained by Philips in the semiconductor space in around

the years 2006-2012.

       38.     On information and belief, Arteris and its predecessors were aware of and

considered the ’818 patent, and its actual or potential applicability to their own current products

and product roadmaps, including the products described herein.

       39.     On information and belief, Arteris has expertise in the subject matter of the

FR2900017B1, FR2904445B1, U.S. Patent Application No. 11/518,384, and the ’818 patent and

possesses sufficient technical competence to understand the scope of such patents and application.

       40.     By virtue of Philips’ and the ’818 patent’s fame in the semiconductor industry, the

patent’s inclusion in the Philips Semiconductor portfolio, Arteris’s desire to obtain valid and

enforceable patents, Arteris’s desire to develop non-infringing products and product roadmaps,

and Arteris’s knowledge of the ’818 patent via citation during prosecution of the aforementioned




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patents and patent application, Arteris had actual knowledge of the ’818 patent around the time it

issued or its U.S. application published, and in no event later than the October 10, 2008 issue date

of FR2904445B1. 14

        41.      On information and belief, the ’818 patent, or the application therefor, or a patent

or application related to the ’818 patent, was cited during prosecution of at least one patent

application that was then or later assigned to or prosecuted by Qualcomm.

        42.      The U.S. publication of the ’818 patent’s application, U.S. Patent Publication No.

2006/0041888, was cited, after the ’818 patent had been granted, during the prosecution of U.S.

Patent Application No. 11/518,384, entitled “SYSTEM FOR MANAGING MESSAGES

TRANSMITTED IN AN ON-CHIP INTERCONNECT NETWORK,” which is assigned to

Qualcomm, with a filing date of September 8, 2006 and purported priority date of July 26, 2006. 15

Further, the cited reference was identified as “pertinent to” U.S. Patent Application No.

11/518,384. 16

        43.      On information and belief, Qualcomm sought to obtain valid and enforceable

patents for itself.

        44.      Therefore, Qualcomm was aware of, and considered and analyzed the inventions

described and claimed in, all patents and patent applications cited during the prosecution of its

own patent applications, including for patents and patent applications that it acquired.

        45.      On information and belief, Qualcomm sought to develop its products and product

roadmaps, including the products described herein, in ways that would not infringe U.S. patents in

the semiconductor space.


14
   See Elm 3DS Innovations, Ltd. Liab. Co. v. Samsung Elecs. Co., Civil Action No. 14-1430-LPS-CJB, 2015 U.S.
Dist. LEXIS 130699, at *5-8 (D. Del. Sep. 29, 2015).
15
   See Notice of References Cited dated Nov. 23, 2009, File History of U.S. Pat. App. No. 11/518,384.
16
   Office Action dated Nov. 23, 2009, File History of U.S. Pat. App. No. 11/518,384.


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        46.      Therefore, on information and belief, Qualcomm monitored U.S. published patent

applications and patents obtained by Philips in the semiconductor space in around the years 2006-

2012.

        47.      On information and belief, Qualcomm was aware of and considered the ’818 patent,

and its actual or potential applicability to its own current products and product roadmaps, including

the products described herein.

        48.      On information and belief, Qualcomm has expertise in the subject matter of the

U.S. Patent Application No. 11/518,384 and the ’818 patent and possesses sufficient technical

competence to understand the scope of such application and patent.

        49.      By virtue of Philips’ and the ’818 patent’s fame in the semiconductor industry, the

patent’s inclusion in the Philips Semiconductor portfolio, Qualcomm’s desire to obtain valid and

enforceable patents, Qualcomm’s desire to develop non-infringing products and product

roadmaps, and Qualcomm’s knowledge of the ’818 patent via citation in the aforementioned patent

application, Qualcomm had actual knowledge of the ’818 patent around the time it issued or its

U.S. application published, and in no event later than the October 11, 2013 execution date of the

assignment of U.S. Patent Application No. 11/518,384 to Qualcomm. 17

                                       U.S. Patent No. 7,373,449

        50.      Plaintiff is the lawful owner of all right, title, and interest in United States Patent

No. 7,373,449 (the “’449 patent”), entitled “APPARATUS AND METHOD FOR

COMMUNICATING IN AN INTEGRATED CIRCUIT,” including the right to sue and to recover

for infringement thereof. The ’449 patent was duly and legally issued on May 13, 2008, naming

Andrei Radulescu and Kees Gerard Willem Goossens as inventors. A copy of the ʼ449 patent is


17
  See Elm 3DS Innovations, Ltd. Liab. Co. v. Samsung Elecs. Co., Civil Action No. 14-1430-LPS-CJB, 2015 U.S.
Dist. LEXIS 130699, at *5-8 (D. Del. Sep. 29, 2015).


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attached hereto as Exhibit 2.

       51.      The ’449 patent has 18 claims: 2 independent claims and 16 dependent claims.

       52.      The ’449 patent covers SoCs that have a resource manager that manages network

resources by determining whether the resources (i.e., communication channels and connection

properties) are available.

       53.      The claims of the ʼ449 patent, including claim 10 (reproduced below), recite at least

these inventive concepts of the ’449 patent.

             10. Method for exchanging messages in an integrated circuit comprising a
             plurality of modules, the messages between the modules being exchanged over
             connections via a network, wherein said connections comprises a set of
             communication channels each having a set of connection properties, any
             communication channel being independently configurable, wherein said
             connection through the network supports transactions comprising at least one
             of outgoing messages from the first module to the second module and return
             messages from the second module to the first module and further comprising
             the steps of:

             the first module issuing a request for a connection with the second module to a
             communication manager, wherein the request comprises desired connection
             properties associated with the sets of communication channels;

             the communication manager forwarding the request to a resource manager;

             the resource manager determining whether a target connection with the desired
             connection properties is available;

             the resource manager responding with the availability of the target connection
             to the communication manager; and

             the target connection between the first and second module being established
             based on the available properties of said communication channels of said
             connection.

(Exhibit 2, ’449 patent at claim 10.) The subject matter described and claimed by the ’449 patent,

including the method for exchanging messages in an integrated circuit of claim 10, was an

improvement in the functionality, performance, and efficiency of integrated circuits and the




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connections and communication networks thereof and was novel and not well-understood, routine,

or conventional at the time of the ’449 patent.

           54.     Defendants had knowledge of the ’449 patent at least as of the date of this

Complaint.

           55.     The ’449 patent was developed and patented by Philips Semiconductors, one of the

largest semiconductor companies in the world. Because of the size and prominence of Philips in

the tight-knit semiconductor industry, industry participants, including, on information and belief,

Defendants, monitored patenting activity by Philips and reviewed, and were aware of shortly after

their publication, at least the U.S. published patent applications and patents obtained by Philips in

the semiconductor space, including the ’449 patent. On information and belief, such industry

participants, including Defendants, considered Philips’ U.S. published patent applications and

patents in the semiconductor space, including the ’449 patent, and such Philips U.S. published

patent applications and patents’ actual or potential applicability to their own current products and

product roadmaps, including the products described herein.

           56.     The ’449 patent is widely and publicly known, and frequently referenced, in the

tight-knit semiconductor industry, having been cited during prosecution of approximately 76

patent applications assigned to industry leaders such as Intel Corporation, Arm Limited, NEC

Corporation, IBM Corporation, and others. 18

           57.     On information and belief, the ’449 patent, or the application therefor, or a patent

or application related to the ’449 patent, was cited during prosecution of at least one patent

application that was then or later assigned to or prosecuted by Arteris or a predecessor to or affiliate

of Arteris.



18
     https://patents.google.com/patent/US7373449B2/en?oq=7%2c373%2c449 (last visited December 19, 2022).


                                                      15
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        58.      On information and belief, the ’449 patent, or a related patent document, was cited

during the prosecution of FR2900017B1, entitled “EXTERNAL CHIP FUNCTIONAL BLOCK

INTERCONNECTION SYSTEM PROVIDED WITH A SINGLE COMMUNICATION

PARAMETRABLE PROTOCOL,” a patent originally assigned to Arteris SA, with a purported

priority date of April 12, 2006 and issue date of October 31, 2008. 19

        59.      On information and belief, the ’449 patent, or a related patent document, was cited

during the prosecution of FR2904445B1, entitled “SYSTEM FOR MANAGING MESSAGES

TRANSMITTED IN A CHIP INTERCONNECTION NETWORK,” a patent originally assigned

to Arteris SA, with a purported priority date of July 26, 2006 and issue date of October 10, 2008. 20

        60.      The U.S. publication of the ’449 patent’s application, U.S. Patent Publication No.

2006/0041889, was cited and analyzed, after the ’449 patent had been granted, during the

prosecution of U.S. Patent No. 8,645,557, entitled “SYSTEM OF INTERCONNECTIONS FOR

EXTERNAL FUNCTIONAL BLOCKS ON A CHIP PROVIDED WITH A SINGLE

CONFIGURABLE COMMUNICATION PROTOCOL,” which was originally assigned to Arteris

SA or Arteris SAS, with an issue date of February 4, 2014, filing date of July 6, 2006, and

purported priority date of April 12, 2006. 21 On information and belief, the applicant of U.S. Patent

No. 8,645,557 was aware of the ’449 patent because the U.S. publication of the ’449 patent was

repeatedly asserted in Office Actions and analyzed in Office Action Responses during prosecution

of U.S. Patent No. 8,645,557. 22



19
   Id.
20
   Id.
21
   See https://patents.google.com/patent/US8645557B2/en?oq=US8645557B2 (last visited December 19, 2022);
Office Actions dated Mar. 9, 2010, Sept. 17, 2010, Mar. 2, 2011, and Nov. 28, 2011, File History of U.S. Pat. No.
8,645,557; Notices of References Cited dated Mar. 9, 2010, Nov. 28, 2011, Aug. 9, 2012, and Mar. 29, 2013, File
History of U.S. Pat. No. 8,645,557; Office Action Responses dated Sept. 7, 2010, Feb. 14, 2011, Aug. 2, 2011, and
May 25, 2012, File History of U.S. Pat. No. 8,645,557.
22
   Id.


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           61.      The ’449 patent was cited during the prosecution of U.S. Patent Application No.

11/518,384, entitled “SYSTEM FOR MANAGING MESSAGES TRANSMITTED IN AN ON-

CHIP INTERCONNECT NETWORK,” an application originally assigned to Arteris SA or Arteris

SAS, with a filing date of September 8, 2006 and purported priority date of July 26, 2006. 23 On

information and belief, the applicant analyzed and considered the ’449 patent because the applicant

filed a Notice of Abandonment after receiving an Office Action rejecting all claims over the ’449

patent. 24

           62.      On information and belief, as explained above in paragraph 33, the knowledge of

Arteris SA and/or Arteris SAS (referred to as Arteris’s “predecessors” for convenience) may be

imputed to Arteris, at least insofar as it relates to knowledge of patent prosecution and patents,

including the ’449 patent.

           63.      On information and belief, Arteris and its predecessors sought to obtain valid and

enforceable patents for themselves.

           64.      Therefore, on information and belief, Arteris and its predecessors were aware of,

and considered and analyzed the inventions described and claimed in, all patents and patent

applications cited during the prosecution of their own patent applications.

           65.      On information and belief, Arteris and its predecessors sought to develop their

products and product roadmaps, including the products described herein, in ways that would not

infringe U.S. patents in the semiconductor space.

           66.      Therefore, on information and belief, Arteris and its predecessors monitored U.S.

published patent applications and patents obtained by Philips in the semiconductor space in around

the years 2006-2012.


23
     Office Action dated Nov. 23, 2009, File History of U.S. Pat. App. No. 11/518,384.
24
     Notice of Abandonment dated July 23, 2010, File History of U.S. Pat. App. No. 11/518,384.


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        67.      On information and belief, Arteris and its predecessors were aware of and

considered the ’449 patent, and its actual or potential applicability to their own current products

and product roadmaps, including the products described herein.

        68.      On information and belief, Arteris has expertise in the subject matter of the

FR2900017B1, FR2904445B1, U.S. Patent No. 8,645,557, U.S. Patent Application No.

11/518,384, and the ’449 patent and possesses sufficient technical competence to understand the

scope of such patents and application.

        69.      By virtue of Philips’ and the ’449 patent’s fame in the semiconductor industry, the

patent’s inclusion in the Philips Semiconductor portfolio, Arteris’s desire to obtain valid and

enforceable patents, Arteris’s desire to develop non-infringing products and product roadmaps,

and Arteris’s knowledge of the ’449 patent via citation during prosecution of the aforementioned

patents and patent application, Arteris had actual knowledge of the ’449 patent around the time it

issued or its U.S. application published, and in no event later than the October 10, 2008 issue date

of FR2904445B1. 25

        70.      On information and belief, the ’449 patent, or the application therefor, or a patent

or application related to the ’449 patent, was cited during prosecution of at least one patent

application that was then or later assigned to or prosecuted by Qualcomm.

        71.      The U.S. publication of the ’449 patent’s application, U.S. Patent Publication No.

2006/0041889, was cited and analyzed, after the ’449 patent had been granted, during the

prosecution of U.S. Patent No. 8,645,557, entitled “SYSTEM OF INTERCONNECTIONS FOR

EXTERNAL FUNCTIONAL BLOCKS ON A CHIP PROVIDED WITH A SINGLE

CONFIGURABLE COMMUNICATION PROTOCOL,” which is assigned to Qualcomm, with an


25
  See Elm 3DS Innovations, Ltd. Liab. Co. v. Samsung Elecs. Co., Civil Action No. 14-1430-LPS-CJB, 2015 U.S.
Dist. LEXIS 130699, at *5-8 (D. Del. Sep. 29, 2015).


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issue date of February 4, 2014, filing date of July 6, 2006, and purported priority date of April 12,

2006. 26 On information and belief, Qualcomm was aware of the ’449 patent because the U.S.

publication of the ’449 patent was repeatedly asserted in Office Actions and analyzed in Office

Action Responses during prosecution of U.S. Patent No. 8,645,557. 27

        72.      The ’449 patent was cited during the prosecution of U.S. Patent Application No.

11/518,384, entitled “SYSTEM FOR MANAGING MESSAGES TRANSMITTED IN AN ON-

CHIP INTERCONNECT NETWORK,” which is assigned to Qualcomm, with a filing date of

September 8, 2006 and purported priority date of July 26, 2006. 28 On information and belief,

Qualcomm analyzed and considered the ’449 patent because when U.S. Patent Application No.

11/518,384 was assigned to Qualcomm, it had been abandoned after receiving an Office Action

rejecting all claims over the ’449 patent. 29

        73.      On information and belief, Qualcomm sought to obtain valid and enforceable

patents for itself.

        74.      Therefore, Qualcomm was aware of, and considered and analyzed the inventions

described and claimed in, all patents and patent applications cited during the prosecution of its

own patent applications, including for patents and patent applications that it acquired.

        75.      On information and belief, Qualcomm sought to develop its products and product

roadmaps, including the products described herein, in ways that would not infringe U.S. patents in

the semiconductor space.



26
   See https://patents.google.com/patent/US8645557B2/en?oq=US8645557B2 (last visited December 19, 2022);
Office Actions dated Mar. 9, 2010, Sept. 17, 2010, Mar. 2, 2011, and Nov. 28, 2011, File History of U.S. Pat. No.
8,645,557; Notices of References Cited dated Mar. 9, 2010, Nov. 28, 2011, Aug. 9, 2012, and Mar. 29, 2013, File
History of U.S. Pat. No. 8,645,557; Office Action Responses dated Sept. 7, 2010, Feb. 14, 2011, Aug. 2, 2011, and
May 25, 2012, File History of U.S. Pat. No. 8,645,557.
27
   Id.
28
   Office Action dated Nov. 23, 2009, File History of U.S. Pat. App. No. 11/518,384.
29
   Notice of Abandonment dated July 23, 2010, File History of U.S. Pat. App. No. 11/518,384.


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        76.      Therefore, on information and belief, Qualcomm monitored U.S. published patent

applications and patents obtained by Philips in the semiconductor space in around the years 2006-

2012.

        77.      On information and belief, Qualcomm was aware of and considered the ’449 patent,

and its actual or potential applicability to its own current products and product roadmaps, including

the products described herein.

        78.      On information and belief, Qualcomm has expertise in the subject matter of the

U.S. Patent No. 8,645,557, U.S. Patent Application No. 11/518,384, and the ’449 patent and

possesses sufficient technical competence to understand the scope of such patents and application.

        79.      By virtue of Philips’ and the ’449 patent’s fame in the semiconductor industry, the

patent’s inclusion in the Philips Semiconductor portfolio, Qualcomm’s desire to obtain valid and

enforceable patents, Qualcomm’s desire to develop non-infringing products and product

roadmaps, and Qualcomm’s knowledge of the ’449 patent via citation during the prosecution of

the aforementioned patent and patent application, Qualcomm had actual knowledge of the ’449

patent around the time it issued or its U.S. application published, and in no event later than the

October 11, 2013 execution date of the assignments of U.S. Patent No. 8,645,557 and U.S. Patent

Application No. 11/518,384 to Qualcomm. 30

                                       U.S. Patent No. 7,594,052

        80.      Plaintiff is the lawful owner of all right, title, and interest in United States Patent

No. 7,594,052 (“’052 patent”), entitled “INTEGRATED CIRCUIT AND METHOD OF

COMMUNICATION SERVICE MAPPING,” including the right to sue and to recover for

infringement thereof. The ’052 patent was duly and legally issued on September 22, 2009, naming


30
  See Elm 3DS Innovations, Ltd. Liab. Co. v. Samsung Elecs. Co., Civil Action No. 14-1430-LPS-CJB, 2015 U.S.
Dist. LEXIS 130699, at *5-8 (D. Del. Sep. 29, 2015).


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Andrei Radulescu and Kees Gerard Willem Goossens as inventors. A copy of the ʼ052 patent is

attached hereto as Exhibit 3.

       81.     The ’052 patent has 7 claims: 3 independent claims and 4 dependent claims.

       82.     The ’052 patent covers SoCs that offer differentiated intermodular communication

services based on connections with corresponding properties. The covered SoCs map a requested

communication service to a connection based on communication and connection properties.

       83.     The claims of the ’052 patent, including claim 6 (reproduced below), recite at least

these inventive concepts of the ’052 patent.

       6. Method of communication service mapping in an integrated circuit, having a
       plurality of processing modules (M, S), wherein at least one first of said processing
       modules (M) requests at least one communication service to at least one second
       processing module (S) based on specific communication properties and at least one
       communication service identification, wherein said at least one communication
       service identification comprises at least one communication thread or at least one
       address range, said address range for identifying one or more second processing
       modules (S) or a memory region within said one or more second processing
       modules (S), comprising the steps of:

       coupling said plurality of processing modules (M, S) by an interconnect means (N)
       and

       enabling a connection based communication having a set of connection properties,

       controlling the communication between said at least one first of said plurality of
       processing modules (M) and said interconnect means (N) by at least one network
       interface (NI) associated to said at least one first of said processing modules,

       mapping the requested at least one communication service based on said specific
       communication properties to a connection based on a set of connection properties
       according to said at least one communication service identification.

(Exhibit 3, ’052 patent at claim 6.) The subject matter described and claimed by the ’052 patent,

including the method of communication service mapping in an integrated circuit of claim 6, was

an improvement in the functionality, performance, and efficiency of integrated circuits and the

connections and communication networks thereof and was novel and not well-understood, routine,



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or conventional at the time of the ’052 patent.

           84.     Defendants had knowledge of the ’052 patent at least as of the date of this

Complaint.

           85.     The ’052 patent was developed and patented by Philips Semiconductors, one of the

largest semiconductor companies in the world. Because of the size and prominence of Philips in

the tight-knit semiconductor industry, industry participants, including, on information and belief,

Defendants, monitored patenting activity by Philips and reviewed, and were aware of shortly after

their publication, at least the U.S. published patent applications and patents obtained by Philips in

the semiconductor space, including the ’052 patent. On information and belief, such industry

participants, including Defendants, considered Philips’ U.S. published patent applications and

patents in the semiconductor space, including the ’052 patent, and such Philips U.S. published

patent applications and patents’ actual or potential applicability to their own current products and

product roadmaps, including the products described herein.

           86.     The ’052 patent is widely and publicly known, and frequently referenced, in the

tight-knit semiconductor industry, having been cited during prosecution of approximately 19

patent applications assigned to industry leaders such as Samsung Electronics Co., Texas

Instruments Incorporated, and others. 31

           87.     On information and belief, the ’052 patent or the application therefor, or a patent or

application related to the ’052 patent, was cited during prosecution of at least one patent application

that was then or later assigned to or prosecuted by Arteris or a predecessor to or affiliate of Arteris.

           88.     The U.S. publication of the ’052 patent’s application, U.S. Patent Publication No.

2007/0186018, was cited by Arteris on October 4, 2022, after the ’052 patent had been granted,



31
     https://patents.google.com/patent/US7594052B2/en?oq=7%2c594%2c052 (last visited December 19, 2022).


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during the prosecution of U.S. Patent Application No. 17/665,578, entitled “SYSTEM AND

METHOD FOR SYNTHESIS OF CONNECTIVITY TO AN INTERCONNECT IN A MULTI-

PROTOCOL SYSTEM-ON-CHIP (SoC),” assigned to Arteris, with a filing date of February 6,

2022 and purported priority date of February 12, 2021. 32

           89.      On information and belief, as explained above in paragraph 33, the knowledge of

Arteris SA and/or Arteris SAS (referred to as Arteris’s “predecessors” for convenience) may be

imputed to Arteris, at least insofar as it relates to knowledge of patent prosecution and patents,

including the ’052 patent.

           90.      On information and belief, Arteris and its predecessors sought to obtain valid and

enforceable patents for themselves.

           91.      Therefore, on information and belief, Arteris and its predecessors were aware of,

and considered and analyzed the inventions described and claimed in, all patents and patent

applications cited during the prosecution of their own patent applications.

           92.      On information and belief, Arteris and its predecessors sought to develop their

products and product roadmaps, including the products described herein, in ways that would not

infringe U.S. patents in the semiconductor space.

           93.      Therefore, on information and belief, Arteris and its predecessors monitored U.S.

published patent applications and patents obtained by Philips in the semiconductor space in around

the years 2006-2012.

           94.      On information and belief, Arteris and its predecessors were aware of and

considered the ’052 patent, and its actual or potential applicability to their own current products

and product roadmaps, including the products described herein.



32
     Id.; Information Disclosure Statement dated Oct. 4, 2022, File History of U.S. Pat. App. No. 17/665,578.


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        95.      On information and belief, Arteris has expertise in the subject matter of the U.S.

Patent Application No. 17/665,578 and the ’052 patent and possesses sufficient technical

competence to understand the scope of such application and patent.

        96.      By virtue of Philips’ and the ’052 patent’s fame in the semiconductor industry, the

patent’s inclusion in the Philips Semiconductor portfolio, Arteris’s desire to obtain valid and

enforceable patents, Arteris’s desire to develop non-infringing products and product roadmaps,

and Arteris’s knowledge of the ’052 patent via citation during prosecution of the aforementioned

patent application, Arteris had actual knowledge of the ’052 patent around the time it issued or its

U.S. application published, and in no event later than the October 4, 2022 Information Disclosure

Statement in U.S. Patent Application No. 17/665,578. 33

        97.      On information and belief, Qualcomm sought to develop its products and product

roadmaps, including the products described herein, in ways that would not infringe U.S. patents in

the semiconductor space.

        98.      Therefore, on information and belief, Qualcomm monitored U.S. published patent

applications and patents obtained by Philips in the semiconductor space in around the years 2006-

2012.

        99.      On information and belief, Qualcomm was aware of and considered the ’052 patent,

and its actual or potential applicability to its own current products and product roadmaps, including

the products described herein.

        100.     On information and belief, Qualcomm has expertise in the subject matter of the

’052 patent and possesses sufficient technical competence to understand the scope of such patent.

        101.     By virtue of Philips’ and the ’052 patent’s fame in the semiconductor industry, the


33
  See Elm 3DS Innovations, Ltd. Liab. Co. v. Samsung Elecs. Co., Civil Action No. 14-1430-LPS-CJB, 2015 U.S.
Dist. LEXIS 130699, at *5-8 (D. Del. Sep. 29, 2015).


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patent’s inclusion in the Philips Semiconductor portfolio, and Qualcomm’s desire to develop non-

infringing products and product roadmaps, Qualcomm had actual knowledge of the ’052 patent

around the time it issued or its U.S. application published, and in no event later than the date of

this Complaint.

                                    U.S. Patent No. 7,769,893

       102.    Plaintiff is the lawful owner of all right, title, and interest in United States Patent

No. 7,769,893 (“’9893 patent”), entitled “INTEGRATED CIRCUIT AND METHOD FOR

ESTABLISHING TRANSACTIONS,” including the right to sue and to recover for infringement

thereof. The ’9893 patent was duly and legally issued on August 3, 2010, naming Kees Gerard

Willem Goossens as inventor. A copy of the ʼ9893 patent is attached hereto as Exhibit 4.

       103.    The ’9893 patent has 11 claims: 2 independent claims and 9 dependent claims.

       104.    The ’9893 patent covers SoCs that use an address translation unit, which is part of

a network interface, for address mapping, where the address translation unit determines both the

location of a message receiving module and a location within the message receiving module.

       105.    The claims of the ’9893 patent, including claim 4 (reproduced below), recite at least

these inventive concepts of the ’9893 patent.

           4. A method for exchanging messages in an integrated circuit comprising a
           plurality of modules, the messages between the plurality of modules being
           exchanged via a network wherein a message issued by an addressing module M
           comprises:

           first information indicative of a location of an addressed message receiving
           module S within the network and is comprised of (1) a connection identifier
           identifying two or more message receiving modules S and (2) an identifier of a
           passive network interface means associated with the addressed message
           receiving module S, and second information indicative of a particular location
           within the addressed message receiving module S, such as a memory, or a
           register address, the method including the steps of:




                                                 25
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             (a) issuing from said addressing module M a message request including said
             first information, said second information, and data and/or connection
             properties to an address translation unit included as part of an active network
             interface module associated with said addressing module M,

             (b) arranging, at said address translation unit, the first and the second
             information comprising said issued message as a single address,

             (c) determining, at said address translation unit, which message receiving
             module S is being addressed in said message request issued from said
             addressing module M based on said single address, and

             (d) further determining, at said address translation unit, the particular location
             within the addressed message receiving module S based on said single address.

(Exhibit 4, ’9893 patent at claim 4.) The subject matter described and claimed by the ’9893 patent,

including the method for exchanging messages in an integrated circuit of claim 4, was an

improvement in the functionality, performance, and efficiency of integrated circuits and the

connections and communication networks thereof and was novel and not well-understood, routine,

or conventional at the time of the ’9893 patent.

       106.     Defendants had knowledge of the ’9893 patent at least as of the date of this

Complaint.

       107.     The ’9893 patent was developed and patented by Philips Semiconductors, one of

the largest semiconductor companies in the world. Because of the size and prominence of Philips

in the tight-knit semiconductor industry, industry participants, including, on information and

belief, Defendants, monitored patenting activity by Philips and reviewed, and were aware of

shortly after their publication, at least the U.S. published patent applications and patents obtained

by Philips in the semiconductor space, including the ’9893 patent. On information and belief, such

industry participants, including Defendants, considered Philips’ U.S. published patent applications

and patents in the semiconductor space, including the ’9893 patent, and such Philips U.S.

published patent applications and patents’ actual or potential applicability to their own current



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products and product roadmaps, including the products described herein.

        108.    The ’9893 patent is widely and publicly known, and frequently referenced, in the

tight-knit semiconductor industry, having been cited during prosecution of approximately 76

patent applications assigned to industry leaders such as Intel Corporation, Arm Limited, NEC

Corporation, IBM Corporation, and others. 34

        109.    On information and belief, the ’9893 patent, or the application therefor, or a patent

or application related to the ’9893 patent, was cited during prosecution of at least one patent

application that was then or later assigned to or prosecuted by Arteris or a predecessor to or affiliate

of Arteris.

        110.    On information and belief, the ’9893 patent, or a related patent document, was cited

during the prosecution of FR2900017B1, entitled “EXTERNAL CHIP FUNCTIONAL BLOCK

INTERCONNECTION SYSTEM PROVIDED WITH A SINGLE COMMUNICATION

PARAMETRABLE PROTOCOL,” a patent originally assigned to Arteris SA, with a purported

priority date of April 12, 2006 and issue date of October 31, 2008. 35

        111.    On information and belief, the ’9893 patent, or a related patent document, was cited

during the prosecution of FR2904445B1, entitled “SYSTEM FOR MANAGING MESSAGES

TRANSMITTED IN A CHIP INTERCONNECTION NETWORK”, a patent originally assigned

to Arteris SA, with a purported priority date of July 26, 2006 and issue date of October 10, 2008. 36

        112.    The U.S. publication of the ’9893 patent’s application, U.S. Patent Publication No.

2006/0095920, was cited during the prosecution of U.S. Patent Application No. 11/518,384,

entitled “SYSTEM FOR MANAGING MESSAGES TRANSMITTED IN AN ON-CHIP



34
   https://patents.google.com/patent/US7769893B2/en?oq=7%2c769%2c893 (last visited December 19, 2022).
35
   Id.
36
   Id.


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INTERCONNECT NETWORK,” an application originally assigned to Arteris SA or Arteris SAS,

with a filing date of September 8, 2006 and purported priority date of July 26, 2006.37 Further,

the cited reference was identified as “pertinent to” U.S. Patent Application No. 11/518,384. 38

        113.    The U.S. publication of the ’9893 patent’s application, U.S. Patent Publication No.

2006/0095920, was cited, after the ’9893 patent had been granted, during the prosecution of U.S.

Patent No. 9,471,538, entitled “NETWORK ON A CHIP SOCKET PROTOCOL,” which was

originally assigned to Arteris SAS, with an issue date of October 18, 2016 and filing date of

September 25, 2012. 39

        114.    On information and belief, as explained above in paragraph 33, the knowledge of

Arteris SA and/or Arteris SAS (referred to as Arteris’s “predecessors” for convenience) may be

imputed to Arteris, at least insofar as it relates to knowledge of patent prosecution and patents,

including the ’9893 patent.

        115.    On information and belief, Arteris and its predecessors sought to obtain valid and

enforceable patents for themselves.

        116.    Therefore, on information and belief, Arteris and its predecessors were aware of,

and considered and analyzed the inventions described and claimed in, all patents and applications

cited during the prosecution of their own patent applications.

        117.    On information and belief, Arteris and its predecessors sought to develop their

products and product roadmaps, including the products described herein, in ways that would not

infringe U.S. patents in the semiconductor space.

        118.    Therefore, on information and belief, Arteris and its predecessors monitored U.S.


37
   Notice of References Cited dated Nov. 23, 2009, File History of U.S. Pat. App. No. 11/518,384.
38
   Office Action dated Nov. 23, 2009, File History of U.S. Pat. App. No. 11/518,384.
39
   https://patents.google.com/patent/US7769893B2/en?oq=7%2c769%2c893 (last visited December 19, 2022);
Information Disclosure Statement dated Aug. 8, 2014, File History of U.S. Pat. No. 9,471,538.


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published patent applications and patents obtained by Philips in the semiconductor space in around

the years 2006-2012.

        119.     On information and belief, Arteris and its predecessors were aware of and

considered the ’9893 patent, and its actual or potential applicability to their own current products

and product roadmaps, including the products described herein.

        120.     On information and belief, Arteris has expertise in the subject matter of the

FR2900017B1, FR2904445B1, U.S. Patent Application No. 11/518,384, U.S. Patent No.

9,471,538, and the ’9893 patent and possesses sufficient technical competence to understand the

scope of such patents and application.

        121.     By virtue of Philips’ and the ’9893 patent’s fame in the semiconductor industry, the

patent’s inclusion in the Philips Semiconductor portfolio, Arteris’s desire to obtain valid and

enforceable patents, Arteris’s desire to develop non-infringing products and product roadmaps,

and Arteris’s knowledge of the ’9893 patent via citation during prosecution of the aforementioned

patents and patent application, Arteris had actual knowledge of the ’9893 patent around the time

it issued or its U.S. application published, and in no event later than the October 10, 2008 issue

date of FR2904445B1. 40

        122.     On information and belief, the ’9893 patent, or the application therefor, or a patent

or application related to the ’9893 patent, was cited during prosecution of at least one patent

application that was then or later assigned to or prosecuted by Qualcomm.

        123.     The ’9893 patent was cited by Qualcomm during the prosecution of U.S. Patent No.

8,861,410, entitled “METHOD AND APPARATUS FOR SCALABLE NETWORK

TRANSACTION IDENTIFIER FOR INTERCONNECTS,” assigned to Qualcomm, with an issue


40
  See Elm 3DS Innovations, Ltd. Liab. Co. v. Samsung Elecs. Co., Civil Action No. 14-1430-LPS-CJB, 2015 U.S.
Dist. LEXIS 130699, at *5-8 (D. Del. Sep. 29, 2015).


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date of October 14, 2014 and filing date of October 31, 2011. 41

        124.    The ’9893 patent was cited by Qualcomm during the prosecution of U.S. Patent No.

8,838,861, entitled “METHODS AND APPARATUSES FOR TRACE MULTICAST ACROSS

A BUS STRUCTURE, AND RELATED SYSTEMS,” assigned to Qualcomm, with an issue date

of September 16, 2014, filing date of June 25, 2012, and purported priority date of May 9, 2012.42

        125.    The U.S. publication of the ’9893 patent’s application, U.S. Patent Publication No.

2006/0095920, was cited, after the ’9893 patent had been granted, during the prosecution of U.S.

Pat. No. 9,471,538, entitled “NETWORK ON A CHIP SOCKET PROTOCOL,” which is assigned

to Qualcomm, with an issue date of October 18, 2016 and filing date of September 25, 2012. 43

        126.    The U.S. publication of the ’9893 patent’s application, U.S. Patent Publication No.

2006/0095920, was cited during the prosecution of U.S. Patent Application No. 11/518,384,

entitled “SYSTEM FOR MANAGING MESSAGES TRANSMITTED IN AN ON-CHIP

INTERCONNECT NETWORK,” which is assigned to Qualcomm, with a filing date of September

8, 2006 and purported priority date of July 26, 2006. 44 Further, the cited reference was identified

as “pertinent to” U.S. Patent Application No. 11/518,384. 45

        127.    On information and belief, Qualcomm sought to obtain valid and enforceable

patents for itself.

        128.    Therefore, Qualcomm was aware of, and considered and analyzed the inventions

described and claimed in, all patents and patent applications cited during the prosecution of its



41
   https://patents.google.com/patent/US7769893B2/en?oq=7%2c769%2c893 (last visited December 19, 2022);
Information Disclosure Statement dated Oct. 24, 2011, File History of U.S. Pat. No. 8,861,410.
42
   https://patents.google.com/patent/US7769893B2/en?oq=7%2c769%2c893 (last visited December 19, 2022);
Information Disclosure Statement dated June 22, 2012, File History of U.S. Pat. No. 8,838,861.
43
   https://patents.google.com/patent/US7769893B2/en?oq=7%2c769%2c893 (last visited December 19, 2022);
Information Disclosure Statement dated Aug. 8, 2014, File History of U.S. Pat. No. 9,471,538.
44
   Notice of References Cited dated Nov. 23, 2009, File History of U.S. Pat. App. No. 11/518,384.
45
   Office Action dated Nov. 23, 2009, File History of U.S. Pat. App. No. 11/518,384.


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own patent applications, including for patents and patent applications that it acquired.

        129.     On information and belief, Qualcomm sought to develop its products and product

roadmaps, including the products described herein, in ways that would not infringe U.S. patents in

the semiconductor space.

        130.     Therefore, on information and belief, Qualcomm monitored U.S. published patent

applications and patents obtained by Philips in the semiconductor space in around the years 2006-

2012.

        131.     On information and belief, Qualcomm was aware of and considered the ’9893

patent, and its actual or potential applicability to its own current products and product roadmaps,

including the products described herein.

        132.     On information and belief, Qualcomm has expertise in the subject matter of the

U.S. Patent No. 8,861,410, U.S. Patent No. 8,838,861, U.S. Pat. No. 9,471,538, U.S. Patent

Application No. 11/518,384, and the ’9893 patent and possesses sufficient technical competence

to understand the scope of such patents and application.

        133.     By virtue of Philips’ and the ’9893 patent’s fame in the semiconductor industry,

the patent’s inclusion in the Philips Semiconductor portfolio, Qualcomm’s desire to obtain valid

and enforceable patents, Qualcomm’s desire to develop non-infringing products and product

roadmaps, and Qualcomm’s knowledge of the ’9893 patent via citation during the prosecution of

the aforementioned patents and patent application, Qualcomm had actual knowledge of the ’9893

patent around the time it issued or its U.S. application published, and in no event later than the

October 24, 2011 Information Disclosure Statement in U.S. Patent No. 8,861,410. 46




46
  See Elm 3DS Innovations, Ltd. Liab. Co. v. Samsung Elecs. Co., Civil Action No. 14-1430-LPS-CJB, 2015 U.S.
Dist. LEXIS 130699, at *5-8 (D. Del. Sep. 29, 2015).


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                                       U.S. Patent No. 8,072,893

          134.   Plaintiff is the lawful owner of all right, title, and interest in United States Patent

No. 8,072,893 (“’2893 patent”), entitled “INTEGRATED CIRCUIT WITH DATA

COMMUNICATION NETWORK AND IC DESIGN METHOD,” including the right to sue and

to recover for infringement thereof. The ’2893 patent was duly and legally issued on December

6, 2011, naming John Dielissen and Edwin Rijpkema as inventors. A copy of the ʼ2893 patent is

attached hereto as Exhibit 5.

          135.   The ’2893 patent has 12 claims: 5 independent claims and 7 dependent claims.

          136.   The ’2893 patent covers SoCs that improve data communication speed and

frequency synchronization between processing units through the use of packetized data

(comprising N data elements) and introduction of a delay (of M*N cycles) on a communication

channel for communication synchronization, with such delay correlated to the size (N) of the data

packet.

          The claims of the ʼ2893 patent, including claim 10 (reproduced below), recite at
          least these inventive concepts of the ʼ2893 patent.
          10. A method of designing an integrated circuit comprising a plurality of functional
          blocks, and a data communication network comprising a plurality of network
          stations being interconnected via a plurality of communication channels for
          communicating data packages between the functional blocks, each data package
          comprising N data elements including a data element comprising routing
          information for the network stations, N being an integer of at least two, the plurality
          of network stations comprising a plurality of data routers and a plurality of network
          interfaces, each of the data routers being coupled to a functional block via a network
          interface; the method comprising the acts of:

          identifying a first communication channel between a first network station and a
          second network station that has a data transfer delay exceeding a predefined delay
          threshold; and

          in response to the identifying act, inserting M*N data storage elements into the data
          communication network, M being a positive integer, for introducing a delay of
          M*N cycles on the first communication channel.



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(Exhibit 5, ʼ2893 patent at claim 10.) The subject matter described and claimed by the ʼ2893

patent, including the method of designing an integrated circuit of claim 10, was an improvement

in the functionality, performance, and efficiency of integrated circuits and the connections and

communication networks thereof and was novel and not well-understood, routine, or conventional

at the time of the ʼ2893 patent.

           137.    Defendants had knowledge of the ʼ2893 patent at least as of the date of this

Complaint.

           138.    The ʼ2893 patent was developed and patented by Philips Semiconductors, one of

the largest semiconductor companies in the world. Because of the size and prominence of Philips

in the tight-knit semiconductor industry, industry participants, including, on information and

belief, Defendants, monitored patenting activity by Philips and reviewed, and were aware of

shortly after their publication, at least the U.S. published patent applications and patents obtained

by Philips in the semiconductor space, including the ʼ2893 patent. On information and belief, such

industry participants, including Defendants, considered Philips’ U.S. published patent applications

and patents in the semiconductor space, including the ʼ2893 patent, and such Philips U.S.

published patent applications and patents’ actual or potential applicability to their own current

products and product roadmaps, including the products described herein.

           139.    The ’2893 patent is widely and publicly known, and frequently referenced, in the

tight-knit semiconductor industry, having been cited during prosecution of approximately 13

patent applications assigned to industry leaders such as Intel Corporation and others. 47

           140.    On information and belief, Arteris and its predecessors sought to develop their

products and product roadmaps, including the products described herein, in ways that would not


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     https://patents.google.com/patent/US8072893B2/en?oq=8%2c072%2c893 (last visited December 19, 2022).


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infringe U.S. patents in the semiconductor space.

        141.   Therefore, on information and belief, Arteris and its predecessors monitored U.S.

published patent applications and patents obtained by Philips in the semiconductor space in around

the years 2006-2012.

        142.   On information and belief, Arteris and its predecessors were aware of and

considered the ’2893 patent, and its actual or potential applicability to their own current products

and product roadmaps, including the products described herein.

        143.   On information and belief, Arteris has expertise in the subject matter of the ’2893

patent and possesses sufficient technical competence to understand the scope of such patent.

        144.   By virtue of Philips’ and the ’2893 patent’s fame in the semiconductor industry, the

patent’s inclusion in the Philips Semiconductor portfolio, and Arteris’s desire to develop non-

infringing products and product roadmaps, Arteris had actual knowledge of the ’9893 patent

around the time it issued or its U.S. application published, and in no event later than the date of

this Complaint.

        145.   On information and belief, Qualcomm sought to develop its products and product

roadmaps, including the products described herein, in ways that would not infringe U.S. patents in

the semiconductor space.

        146.   Therefore, on information and belief, Qualcomm monitored U.S. published patent

applications and patents obtained by Philips in the semiconductor space in around the years 2006-

2012.

        147.   On information and belief, Qualcomm was aware of and considered the ’2893

patent, and its actual or potential applicability to its own current products and product roadmaps,

including the products described herein.




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       148.    On information and belief, Qualcomm has expertise in the subject matter of the

’2893 patent and possesses sufficient technical competence to understand the scope of such patent.

       149.    By virtue of Philips’ and the ’2893 patent’s fame in the semiconductor industry, the

patent’s inclusion in the Philips Semiconductor portfolio, and Qualcomm’s desire to develop non-

infringing products and product roadmaps, Qualcomm had actual knowledge of the ’2893 patent

around the time it issued or its U.S. application published, and in no event later than the date of

this Complaint.

                                    U.S. Patent No. 8,086,800

       150.    Plaintiff is the lawful owner of all right, title, and interest in United States Patent

No. 8,086,800 (“’800 patent”), entitled “INTEGRATED CIRCUIT AND METHOD FOR

BUFFERING TO OPTIMIZE BURST LENGTH IN NETWORKS ON CHIPS,” including the

right to sue and to recover for infringement thereof. The ’800 patent was duly and legally issued

on December 27, 2011, naming Andrei Radulescu and Kees Gerard Willem Goossens as inventors.

A copy of the ʼ800 patent is attached hereto as Exhibit 6.

       151.    The ’800 patent has 21 claims: 4 independent claims and 17 dependent claims.

       152.    The ’800 patent covers SoCs that employ data buffering at requesting (master) and

responding (slave) modules and where each module has a network interface with a wrapper that

buffers data into optimal amounts for transfer.

       153.    The claims of the ʼ800 patent, including claim 10 (reproduced below), recite at least

these inventive concepts of the ’800 patent.

           10. A method for buffering data in an integrated circuit having a plurality of
           processing modules being connected with an interconnect through interface
           units, wherein a first processing module communicates to a second processing
           module using transactions, the method comprising the acts of:




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   configuring the first processing module having a first memory as a master the
   provides requests;

   configuring the second processing module having a second memory as a slave
   the provides responses to the requests;

   connecting the master to a master interface unit of the interface units;

   connecting the master interface unit to the interconnect so that the master
   interface unit is between the master and the interconnect;

   connecting the slave to a slave interface unit of the interface units;

   connecting the slave interface unit to the interconnect so that the slave interface
   unit is between the slave and the interconnect;

   determining by a master determination unit of the master interface unit a first
   optimal amount of data to be buffered by a master wrapper of the master
   interface unit;

   determining by a slave determination unit of the slave interface unit a second
   optimal amount of data to be buffered by a slave wrapper of the slave interface
   unit;

   buffering by the slave wrapper of the slave interface unit data from the slave to
   be transferred over the interconnect until a first optimal amount of data is
   buffered;

   transferring the buffered data from the slave wrapper to the master wrapper
   when said first optimal amount of data has been buffered by the slave wrapper;

   buffering by the master wrapper of the master interface unit data from the
   master to be transferred over the interconnect until a second optimal amount of
   data is buffered by the master wrapper;

   transferring the buffered data from the master wrapper to the slave wrapper
   when said second optimal amount of data has been buffered by the master
   wrapper,

   wherein at least one of the first determination unit and the second determination
   unit is further configured to determine an optimal moment for sending the data
   in said first wrapper or said second wrapper according to communication
   properties of the communication between the master and the slave, wherein the
   communication properties include ordering of data transport, flow control
   including when a remote buffer is reserved for a connection, then a data
   producer will be allowed to send data only when it is guaranteed that space is



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             available for the produced data at the remote buffer, throughput where a lower
             bound on throughput is guaranteed, latency where an upper bound for latency
             is guaranteed, lossiness including dropping of data, transmission termination,
             transaction completion, data correctness, priority, and data delivery.

(Exhibit 6, ’800 patent at claim 10.) The subject matter described and claimed by the ’800 patent,

including the method for buffering data in an integrated circuit of claim 10, was an improvement

in the functionality, performance, and efficiency of integrated circuits and the connections and

communication networks thereof and was novel and not well-understood, routine, or conventional

at the time of the ’800 patent.

       154.     Defendants had knowledge of the ’800 patent at least as of the date of this

Complaint.

       155.     The ’800 patent was developed and patented by Philips Semiconductors, one of the

largest semiconductor companies in the world. Because of the size and prominence of Philips in

the tight-knit semiconductor industry, industry participants, including, on information and belief,

Defendants, monitored patenting activity by Philips and reviewed, and were aware of shortly after

their publication, at least the U.S. published patent applications and patents obtained by Philips in

the semiconductor space, including the ’800 patent. On information and belief, such industry

participants, including Defendants, considered Philips’ U.S. published patent applications and

patents in the semiconductor space, including the ’800 patent, and such Philips U.S. published

patent applications and patents’ actual or potential applicability to their own current products and

product roadmaps, including the products described herein.

       156.     On information and belief, Arteris and its predecessors sought to develop their

products and product roadmaps, including the products described herein, in ways that would not

infringe U.S. patents in the semiconductor space.

       157.     Therefore, on information and belief, Arteris and its predecessors monitored U.S.



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published patent applications and patents obtained by Philips in the semiconductor space in around

the years 2006-2012.

        158.   On information and belief, Arteris and its predecessors were aware of and

considered the ’800 patent, and its actual or potential applicability to their own current products

and product roadmaps, including the products described herein.

        159.   On information and belief, Arteris has expertise in the subject matter of the ’800

patent and possesses sufficient technical competence to understand the scope of such patent.

        160.   By virtue of Philips’ and the ’800 patent’s fame in the semiconductor industry, the

patent’s inclusion in the Philips Semiconductor portfolio, and Arteris’s desire to develop non-

infringing products and product roadmaps, Arteris had actual knowledge of the ’800 patent around

the time it issued or its U.S. application published, and in no event later than the date of this

Complaint.

        161.   On information and belief, Qualcomm sought to develop its products and product

roadmaps, including the products described herein, in ways that would not infringe U.S. patents in

the semiconductor space.

        162.   Therefore, on information and belief, Qualcomm monitored U.S. published patent

applications and patents obtained by Philips in the semiconductor space in around the years 2006-

2012.

        163.   On information and belief, Qualcomm was aware of and considered the ’800 patent,

and its actual or potential applicability to its own current products and product roadmaps, including

the products described herein.

        164.   On information and belief, Qualcomm has expertise in the subject matter of the

’800 patent and possesses sufficient technical competence to understand the scope of such patent.




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       165.    By virtue of Philips’ and the ’800 patent’s fame in the semiconductor industry, the

patent’s inclusion in the Philips Semiconductor portfolio, and Qualcomm’s desire to develop non-

infringing products and product roadmaps, Qualcomm had actual knowledge of the ’800 patent

around the time it issued or its U.S. application published, and in no event later than the date of

this Complaint.

              BACKGROUND OF DEFENDANTS’ INFRINGING CONDUCT

       166.    Plaintiff incorporates by reference the allegations contained in paragraphs 1 to

165 above.

       167.    SoCs are widely used in consumer electronics or computing devices, including

smartphones, laptops, tablets, and embedded systems such as vehicle infotainment devices and

advanced driver assistance systems. SoCs are complex integrated circuits that may incorporate

multiple processors, memory units, and interfaces onto a single chip.

       168.    As SoCs have developed over time, more processing cores and other IP blocks were

incorporated into SoCs, resulting in increased intermodular connections and a greater need for

intra-SoC communication efficiency. Thus, intra-SoC communication designs have moved from

prior interconnect technologies (e.g., bus or point-to-point designs) to network interconnects,

which provide advantages compared to other forms of intra-SoC communication, such as fewer

wires, lower routing congestion, and decreased SoC die area, all leading to: smaller devices;

increased IP block density, which results in more powerful devices; increased power efficiency,

which enables better battery life; decreased thermal load, which leads to longer system life; and

improved system performance. Therefore, interconnect efficiency—driven by the pioneering

innovations claimed in the Asserted Patents—is now a dominant factor in determining overall SoC

system performance, size, and cost.




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         169.     As discussed above, the Asserted Patents relate to fundamental innovations in

SoCs, including how the multitude of processors, memories, and other functional units residing on

an SoC are interconnected and communicate with each other.

         170.     Qualcomm is a leading semiconductor company that provides SoCs, and Arteris is

a provider of interconnect technology for SoCs. 48 Qualcomm provides Snapdragon SoCs, and on

information and belief, Snapdragon SoCs include Arteris interconnect technology and/or a

derivative thereof. 49 Thus, on information and belief, Qualcomm makes, uses, sells, offers for

sale, and/or imports, or has otherwise made, used, sold, offered for sale, and/or imported, SoCs

including Arteris interconnect technology and/or a derivative thereof.

         171.     As set forth in the charts appended hereto, the Snapdragon SoCs, including their

incorporation of Arteris interconnect technology and/or a derivative thereof, infringe each of the

Asserted Patents.

         172.     On information and belief, Qualcomm’s products that infringe the Asserted Patents

(collectively, “Qualcomm Accused Products”) include the following: 50

                                       Qualcomm Accused Products
                       • Snapdragon processors
                       • Qualcomm integrated circuits containing Arteris
                         interconnect technology and/or a derivative thereof
                       • Phones, tablets, computers, laptops and Chromebooks
                         containing Snapdragon processors or other Qualcomm

48
   See https://www.arteris.com/about-arteris (last visited December 19, 2022).
49
   https://web.archive.org/web/20210514110614/https:/www.arteris.com/customers (last visited December 19, 2022)
(identifying Qualcomm as an Arteris customer and stating that “Arteris-developed NoC technology is the backbone
of Snapdragon application processors & LTE modems, Atheros wireless connectivity SoCs, and CSR IoT
products”); https://www.eetimes.com/qualcomm-buys-arteris-tech-team (last visited December 19, 2022)
(“Qualcomm has been a customer of Arteris for about three years. It uses its FlexNoc ‘in most of its chips,’ [Arteris
President] Janac said.”); see also https://news.thomasnet.com/fullstory/arteris-flexnoc-network-on-chip-technology-
designed-into-majority-of-mobile-socs-20009449 (last visited December 19, 2022) (Arteris FlexNoC was
incorporated into over 60% of SoCs deployed in smartphones and tablets).
50
   https://web.archive.org/web/20210514110614/https:/www.arteris.com/customers (last visited December 19, 2022)
(identifying Qualcomm as an Arteris customer and stating that “Arteris-developed NoC technology is the backbone
of Snapdragon application processors & LTE modems, Atheros wireless connectivity SoCs, and CSR IoT
products”).


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                       integrated circuits containing Arteris interconnect
                       technology and/or a derivative thereof
                     • Vehicles and components thereof containing
                       Snapdragon processors or other Qualcomm integrated
                       circuits containing Arteris interconnect technology
                       and/or a derivative thereof, including, for example, the
                       Snapdragon Automotive Platform, Snapdragon Ride
                       Platform, Snapdragon Cockpit Platform, Snapdragon
                       Car-to-Cloud Platform Snapdragon Auto Connectivity
                       Platform and Snapdragon Digital Chassis
                     • Virtual Reality, Augmented Reality and wearable
                       products containing Snapdragon processors or other
                       Qualcomm integrated circuits containing Arteris
                       interconnect technology and/or a derivative thereof,
                       including, for example, the Snapdragon XR and
                       Snapdragon Wear
                     • IoT, Audio, Wireless Network and Smart Home
                       products containing Snapdragon processors or other
                       Qualcomm integrated circuits containing Arteris
                       interconnect technology and/or a derivative thereof,
                       including, for example, Modem SoCs, Atheros SoCs and
                       CSR IoT products 51

The above-listed Qualcomm Accused Products are non-limiting.                       Additional products of

Qualcomm may infringe the Asserted Patents, and the above-listed Qualcomm Accused Products

may infringe additional patents.

        173.     Qualcomm has infringed and continues to infringe the Asserted Patents by making,

using, selling, offering to sell, and/or importing, without license or authority, the Qualcomm

Accused Products as alleged herein, which embody or use the inventions claimed in the Asserted

Patents literally or under the doctrine of equivalents.

        174.     Comparison of claims of the Asserted Patents to an exemplary product of the

Qualcomm Accused Products are attached as Exhibit 7 (ʼ818 patent), Exhibit 8 (ʼ449 patent),

Exhibit 9 (’052 patent), Exhibit 10 (’9893 patent), Exhibit 11 (’2893 patent, claim 10), and Exhibit


51
   https://web.archive.org/web/20210514110614/https:/www.arteris.com/customers (last visited December 19, 2022)
(identifying Qualcomm as an Arteris customer and stating that “Arteris-developed NoC technology is the backbone
of Snapdragon … modems, Atheros wireless connectivity SoCs, and CSR IoT products”).


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12 (ʼ800 patent), which are incorporated herein by reference.

        175.    Qualcomm has induced infringement and continues to induce infringement of the

Asserted Patents by actively and knowingly inducing others to make, use, sell, offer to sell, and/or

import, without license or authority, the Qualcomm Accused Products as alleged herein, which

embody or use the inventions claimed in the Asserted Patents literally or under the doctrine of

equivalents.

        176.    Qualcomm markets, advertises, offers for sale, and/or otherwise promotes the

Qualcomm Accused Products and, on information and belief, does so to actively and knowingly

induce, encourage, instruct, and aid one or more persons in the United States to make, use, sell,

offer to sell and/or import the Qualcomm Accused Products. For example, Qualcomm, or an entity

under Qualcomm’s direction or control, advertises, offers for sale, and/or otherwise promotes the

Qualcomm Accused Products on its website. 52 Qualcomm, or one or more related entities, further

publishes and distributes product briefs, data sheets, manuals, guides, test reports, specifications,

videos, and other authorized resources for the Qualcomm Accused Products. 53 Therein, on

information and belief, Qualcomm describes and touts the use of the subject matter claimed in the

Asserted Patents, as described and alleged herein.

        177.    Qualcomm has contributorily infringed and continues to contributorily infringe the

Asserted Patents by selling or offering to sell Qualcomm Accused Products, knowing them to be


52
   See, e.g., https://www.qualcomm.com/snapdragon (last visited December 19, 2022);
https://www.qualcomm.com/products/technology/processors/mobile-processors (last visited December 19, 2022);;
https://www.qualcomm.com/products/application/automotive (last visited December 19, 2022);
https://www.qualcomm.com/products/application/smartphones (last visited December 19, 2022);
https://www.qualcomm.com/products/application/mobile-computing (last visited December 19, 2022);
https://www.qualcomm.com/products/application/wearables (last visited December 19, 2022);
https://www.qualcomm.com/products/application/audio (last visited December 19, 2022);
https://www.qualcomm.com/products/application/xr-vr-ar (last visited December 19, 2022);
53
   See, e.g., https://www.qualcomm.com/search?query=%22snapdragon%22&activeCategory=Documents (last
visited December 19, 2022); https://www.qualcomm.com/content/dam/qcomm-martech/dm-
assets/documents/Snapdragon-8-plus-Gen-1-Product-Brief.pdf (last visited December 19, 2022).


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especially made or especially adapted for practicing the inventions of the Asserted Patents and not

a staple article or commodity of commerce suitable for substantial non-infringing use.

        178.     On information and belief, and as alleged above, Qualcomm has known of the

existence of the Asserted Patents and their applicability to Qualcomm’s Accused Products, and its

acts of infringement have been willful and in disregard for the Asserted Patents, without any

reasonable basis for believing that it had a right to engage in the infringing conduct, at least as of

the dates of knowledge of the Asserted Patents alleged above, and no later than the date of this

Complaint.

        179.     On information and belief, Arteris infringes the Asserted Patents based on its

interconnect technology for SoCs, including its (1) interconnect semiconductor intellectual

property (“IP”) and (2) IP deployment technology (collectively, “Arteris interconnect technology”

or “Arteris Accused Products”). 54 On information and belief, Arteris Accused Products include

the following:

                                         Arteris Accused Products
                            • Arteris FlexNoC products
                            • Arteris Ncore products
                            • Arteris interconnect technology and derivatives
                              thereof

        180.     The above-listed Arteris Accused Products are non-limiting. Arteris’s infringement

of the Asserted Patents may be based on additional or alternative products of Arteris, and the

above-listed Arteris Accused Products may infringe additional patents.

        181.     Comparison of claims of the Asserted Patents to an exemplary product of the

Qualcomm Accused Products that incorporate an exemplary product of the Arteris Accused




54
  https://www.arteris.com/about-arteris (last visited December 19, 2022); https://www.arteris.com/products (last
visited December 19, 2022).


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Products are attached as Exhibit 7 (ʼ818 patent), Exhibit 8 (ʼ449 patent), Exhibit 9 (’052 patent),

Exhibit 10 (’9893 patent), Exhibit 11 (’2893 patent, claim 10), and Exhibit 12 (ʼ800 patent), which

are incorporated herein by reference.

         182.     On information and belief, Arteris indirectly infringes the Asserted Patents by

inducing infringement or contributing to infringement by Qualcomm and/or other entities that

make, use, sell, offer to sell, and/or import SoCs that include Arteris interconnect technology.

         183.     Arteris has induced infringement and continues to induce infringement of the

Asserted Patents by actively and knowingly inducing others to make, use, sell, offer to sell, and/or

import, without license or authority, SoCs incorporating Arteris interconnect technology,

including the Qualcomm Accused Products as alleged herein, which embody or use the inventions

claimed in the Asserted Patents literally or under the doctrine of equivalents.

         184.     Arteris markets, advertises, offers for sale, and/or otherwise promotes the Arteris

Accused Products and, on information and belief, does so to actively and knowingly induce,

encourage, instruct, and aid one or more persons in the United States to make, use, sell, offer to

sell and/or import SoCs incorporating Arteris interconnect technology, including the Qualcomm

Accused Products.         For example, Arteris, or an entity under Arteris’s direction or control,

advertises, offers for sale, and/or otherwise promotes the Arteris Accused Products on its

website. 55 Arteris, or one or more related entities, further publishes and distributes datasheets,




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   See, e.g., https://www.arteris.com/about-arteris (last visited December 19, 2022) (listing “[k]ey benefits of Arteris
IP … interconnect solutions” and stating, for example, that the Arteris Accused Products “accelerate [SoC]
semiconductor development and integration for a wide range of applications” and that “[c]ustomer results obtained
by using Arteris IP products include lower power, higher performance, more efficient design reuse and faster SoC
development, leading to lower development and production costs”); https://www.arteris.com/products (last visited
December 19, 2022) (stating, for example, that Arteris’s “interconnect IP is the communications backbone of your
SoC, allowing you to make more complex chips in less time”); https://www.arteris.com/semiconductor-ip-products
(last visited December 19, 2022) (stating, for example, that Arteris interconnect technology is “[t]he gold standard
for SoC … interconnects”).


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presentations, technical papers, and videos for the Arteris Accused Products. 56 Therein, on

information and belief, Arteris describes and touts the use of the subject matter claimed in the

Asserted Patents, as described and alleged herein.

         185.     Arteris has contributorily infringed and continues to contributorily infringe the

Asserted Patents by selling or offering to sell Arteris Accused Products, knowing them to be

especially made or especially adapted for practicing the inventions of the Asserted Patents and not

a staple article or commodity of commerce suitable for substantial non-infringing use.

         186.     On information and belief, and as alleged above, Arteris has known of the existence

of the Asserted Patents and their applicability to Arteris’s Accused Products, and its acts of

infringement have been willful and in disregard for the Asserted Patents, without any reasonable

basis for believing that it had a right to engage in the infringing conduct, at least as of the dates of

knowledge of the Asserted Patents alleged above, and no later than the date of this Complaint.

         187.     On information and belief, the Qualcomm Accused Products incorporating Arteris

Accused Products include SoC technology that infringes each of the Asserted Patents.

                 COUNT I – INFRINGEMENT OF U.S. PATENT NO. 7,366,818

         188.     Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 187

above.

         189.     On information and belief, Qualcomm has made, used, offered for sale, sold, and/or

imported products, including within this Judicial District, including at least the Qualcomm

Accused Products, that infringe, either literally or under the doctrine of equivalents, one or more




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   https://www.arteris.com/resources (last visited December 19, 2022); see, e.g., https://www.arteris.com/hs-
fs/hub/48858/file-14363521-pdf/docs/springer-appdrivennocarchitecture8.5x11.pdf (last visited December 19, 2022)
(peer-reviewed technical journal article regarding Arteris interconnect technology, providing an Arteris product
tutorial and touting that “the … methodology will not lead you astray, the flexibility of the Arteris library will fit
your needs, and the associated tool framework will permit a clear description and validation of your NoC”).


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claims of the ʼ818 patent in violation of 35 U.S.C. § 271(a), including claim 1. A comparison of

claim 1 of the ’818 patent to an exemplary product of the Qualcomm Accused Products is attached

as Exhibit 7, which is incorporated herein by reference.

       190.    On information and belief, with knowledge of the ʼ818 patent, Qualcomm has

actively induced and continues to induce the direct infringement of one or more claims of the ʼ818

patent, including claim 1, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of

its products, including at least the Qualcomm Accused Products, by selling, providing support for,

providing instructions for use of, and/or otherwise encouraging its customers and/or end-users to

directly infringe, either literally and/or under the doctrine of equivalents, one or more claims of

the ʼ818 patent, including claim 1, with the intent to encourage those customers and/or end users

to infringe the ʼ818 patent.

       191.    By way of example, on information and belief, Qualcomm actively induces

infringement of the ʼ818 patent by encouraging, instructing, and aiding one or more persons in the

United States, including but not limited to customers and/or end users who test, operate, and use

Qualcomm’s products, including at least the Qualcomm Accused Products, to make, use, sell, offer

to sell, and/or import Qualcomm’s products, including at least the Qualcomm Accused Products,

in a manner that infringes at least one claim of the ʼ818 patent, including claim 1. For example,

as described above, Qualcomm actively markets, advertises, offers for sale, and/or otherwise

promotes the Qualcomm Accused Products by publishing and distributing data sheets, manuals,

and guides for the Qualcomm Accused Products. Therein, on information and belief, Qualcomm

describes and touts the use of the subject matter claimed in the ʼ818 patent.

       192.    On information and belief, with knowledge of the ʼ818 patent, Qualcomm also

contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ818




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patent, including claim 1, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

importing the Qualcomm Accused Products, knowing them to be especially made or especially

adapted for practicing the inventions of the ’818 patent and not a staple article or commodity of

commerce suitable for substantial non-infringing use. This is evidenced by, among other things,

the design, configuration, and functionality of the Qualcomm Accused Products, which are

especially made or especially adapted for use in infringement of the ’818 patent when used for

their normal and intended purpose. This is also evidenced by, among other things, Qualcomm’s

informational and promotional materials described above, which describe the normal use and

intended purpose of the Qualcomm Accused Products and demonstrate that the Qualcomm

Accused Products are especially made or especially adapted for a use that infringes the ʼ818 patent.

       193.    On information and belief, as a result of Qualcomm’s inducement of, and/or

contribution to, infringement, its customers and/or end users made, used, sold, offered for sale, or

imported, and continue to make, use, sell, offer to sell, or import, Qualcomm’s products, including

the Qualcomm Accused Products, in ways that directly infringe one or more claims of the ʼ818

patent, including claim 1. On information and belief, Qualcomm had actual knowledge of its

customers’ and/or end users’ direct infringement at least by virtue of their sales, instruction, and/or

otherwise promotion of Qualcomm’s products, including the Qualcomm Accused Products, at least

as of the dates of knowledge of the ’818 patent alleged above, and no later than the date of this

Complaint.

       194.    On information and belief, with knowledge of the ʼ818 patent, Qualcomm has

willfully, deliberately, and intentionally infringed the ʼ818 patent, at least as of the dates of

knowledge of the ’818 patent alleged above, and no later than the date of this Complaint, and

continues to willfully, deliberately, and intentionally infringe the ʼ818 patent. On information and




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belief, Qualcomm had actual knowledge of the ʼ818 patent and Qualcomm’s infringement of the

ʼ818 patent at least as of the dates of knowledge of the ’818 patent alleged above, and no later than

the date of this Complaint. On information and belief, after acquiring that knowledge, Qualcomm

continued to directly and indirectly infringe the ʼ818 patent as set forth above. On information

and belief, Qualcomm knew or should have known that its conduct amounted to infringement of

the ʼ818 patent at least because Qualcomm was aware of the ʼ818 patent and Qualcomm’s

infringement of the ʼ818 patent at least as of the dates of knowledge of the ’818 patent alleged

above, and no later than the date of this Complaint. Qualcomm was aware of its infringement by

virtue of the ’818 patent’s fame in the semiconductor industry, Qualcomm’s expertise in the

subject matter of the ’818 patent, Qualcomm’s technical competence to understand the scope of

the ’818 patent, and Qualcomm’s intimate familiarity with its Accused Products. Additionally,

Qualcomm was aware of the ʼ818 patent, and Qualcomm’s infringement of the ʼ818 patent, at least

as of the date of this Complaint because Plaintiff notified Qualcomm of such.

       195.    On information and belief, Qualcomm will continue to infringe the ʼ818 patent

unless and until it is enjoined by this Court. Qualcomm, by way of its infringing activities, has

caused and continues to cause Plaintiff to suffer damages in an amount to be determined, and has

caused and is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against

Qualcomm’s acts of infringement and, unless Qualcomm is enjoined from its infringement of the

ʼ818 patent, Plaintiff will continue to suffer irreparable harm.

       196.    Plaintiff is entitled to recover from Qualcomm damages at least in an amount

adequate to compensate for its infringement of the ʼ818 patent, which amount has yet to be

determined, together with interest and costs fixed by the Court.

       197.    On information and belief, Arteris has made, used, offered for sale, sold, and/or




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imported products, including within this Judicial District, including at least the Arteris Accused

Products, that indirectly infringe, either literally or under the doctrine of equivalents, one or more

claims of the ʼ818 patent in violation of 35 U.S.C. § 271, including claim 1. A comparison of

claim 1 of the ’818 patent to an exemplary product of the Qualcomm Accused Products that

incorporate an exemplary product of the Arteris Accused Products is attached as Exhibit 7, which

is incorporated herein by reference.

       198.    On information and belief, with knowledge of the ʼ818 patent, Arteris has actively

induced and continues to induce the direct infringement of one or more claims of the ʼ818 patent,

including claim 1, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its

products, including at least the Arteris Accused Products, by selling, providing support for,

providing instructions for use of, and/or otherwise encouraging its customers and/or end-users to

directly infringe, either literally and/or under the doctrine of equivalents, one or more claims of

the ʼ818 patent, including claim 1, with the intent to encourage those customers and/or end users

to infringe the ʼ818 patent.

       199.    By way of example, on information and belief, Arteris actively induces

infringement of the ʼ818 patent by encouraging, instructing, and aiding one or more persons in the

United States, including but not limited to customers and/or end users who test, operate, and use

Arteris products, including at least the Arteris Accused Products, to make, use, sell, offer to sell,

and/or import SoCs incorporating such Arteris products, including at least the Qualcomm Accused

Products, in a manner that infringes at least one claim of the ʼ818 patent, including claim 1. For

example, as described above, Arteris actively markets, advertises, offers for sale, and/or otherwise

promotes the Arteris Accused Products by publishing and distributing data sheets, manuals, and

guides for the Arteris Accused Products. Therein, on information and belief, Arteris describes and




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touts the use of the subject matter claimed in the ʼ818 patent.

       200.    On information and belief, with knowledge of the ʼ818 patent, Arteris also

contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ818

patent, including claim 1, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

importing the Arteris Accused Products, knowing them to be especially made or especially adapted

for practicing the inventions of the ’818 patent and not a staple article or commodity of commerce

suitable for substantial non-infringing use. This is evidenced by, among other things, the design,

configuration, and functionality of the Arteris Accused Products, which are especially made or

especially adapted for use in infringement of the ’818 patent when used for their normal and

intended purpose. This is also evidenced by, among other things, Arteris’s informational and

promotional materials described above, which describe the normal use and intended purpose of

the Arteris Accused Products and demonstrate that the Arteris Accused Products are especially

made or especially adapted for a use that infringes the ʼ818 patent.

       201.    On information and belief, as a result of Arteris’s inducement of, and/or

contribution to, infringement, its customers and/or end users made, used, sold, offered for sale, or

imported, and continue to make, use, sell, offer to sell, or import, SoCs incorporating such Arteris

products, including the Qualcomm Accused Products, in ways that directly infringe one or more

claims of the ʼ818 patent, including claim 1. On information and belief, Arteris had actual

knowledge of its customers’ and/or end users’ direct infringement at least by virtue of their sales,

instruction, and/or otherwise promotion of Arteris’s products, including the Arteris Accused

Products, at least as of the dates of knowledge of the ’818 patent alleged above, and no later than

the date of this Complaint.

       202.    On information and belief, with knowledge of the ʼ818 patent, Arteris has willfully,




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deliberately, and intentionally infringed the ʼ818 patent, at least as of the dates of knowledge of

the ’818 patent alleged above, and no later than the date of this Complaint, and continues to

willfully, deliberately, and intentionally infringe the ʼ818 patent. On information and belief,

Arteris had actual knowledge of the ʼ818 patent and Arteris’s infringement of the ʼ818 patent at

least as of the dates of knowledge of the ’818 patent alleged above, and no later than the date of

this Complaint. On information and belief, after acquiring that knowledge, Arteris continued to

indirectly infringe the ʼ818 patent as set forth above. On information and belief, Arteris knew or

should have known that its conduct amounted to infringement of the ʼ818 patent at least because

Arteris was aware of the ʼ818 patent and Arteris’s infringement of the ʼ818 patent at least as of the

dates of knowledge of the ’818 patent alleged above, and no later than the date of this Complaint.

Arteris was aware of its infringement by virtue of the ’818 patent’s fame in the semiconductor

industry, Arteris’s expertise in the subject matter of the ’818 patent, Arteris’s technical competence

to understand the scope of the ’818 patent, and Arteris’s intimate familiarity with its Accused

Products. Additionally, Arteris was aware of the ʼ818 patent, and Arteris’s infringement of the

ʼ818 patent, at least as of the date of this Complaint because Plaintiff notified Arteris of such.

       203.    On information and belief, Arteris will continue to infringe the ʼ818 patent unless

and until it is enjoined by this Court. Arteris, by way of its infringing activities, has caused and

continues to cause Plaintiff to suffer damages in an amount to be determined, and has caused and

is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against Arteris’s acts

of infringement and, unless Arteris is enjoined from its infringement of the ʼ818 patent, Plaintiff

will continue to suffer irreparable harm.

       204.    Plaintiff is entitled to recover from Arteris damages at least in an amount adequate

to compensate for its infringement of the ʼ818 patent, which amount has yet to be determined,




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together with interest and costs fixed by the Court.

                COUNT II – INFRINGEMENT OF U.S. PATENT NO. 7,373,449

         205.   Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 204

above.

         206.   On information and belief, Qualcomm has made, used, offered for sale, sold, and/or

imported products, including within this Judicial District, including at least the Qualcomm

Accused Products, that infringe, either literally or under the doctrine of equivalents, one or more

claims of the ʼ449 patent in violation of 35 U.S.C. § 271(a), including claim 10. A comparison of

claim 10 of the ʼ449 patent to an exemplary product of the Qualcomm Accused Products is attached

as Exhibit 8, which is incorporated herein by reference.

         207.   On information and belief, with knowledge of the ʼ449 patent, Qualcomm has

actively induced and continues to induce the direct infringement of one or more claims of the ʼ449

patent, including claim 10, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of

its products, including at least the Qualcomm Accused Products, by selling, providing support for,

providing instructions for use of, and/or otherwise encouraging its customers and/or end-users to

directly infringe, either literally and/or under the doctrine of equivalents, one or more claims of

the ʼ449 patent, including claim 10, with the intent to encourage those customers and/or end users

to infringe the ʼ449 patent.

         208.   By way of example, on information and belief, Qualcomm actively induces

infringement of the ʼ449 patent by encouraging, instructing, and aiding one or more persons in the

United States, including but not limited to customers and/or end users who test, operate, and use

Qualcomm’s products, including at least the Qualcomm Accused Products, to make, use, sell, offer

to sell, and/or import Qualcomm’s products, including at least the Qualcomm Accused Products,




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in a manner that infringes at least one claim of the ʼ449 patent, including claim 10. For example,

as described above, Qualcomm actively markets, advertises, offers for sale, and/or otherwise

promotes the Qualcomm Accused Products by publishing and distributing data sheets, manuals,

and guides for the Qualcomm Accused Products. Therein, on information and belief, Qualcomm

describes and touts the use of the subject matter claimed in the ʼ449 patent.

       209.    On information and belief, with knowledge of the ʼ449 patent, Qualcomm also

contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ449

patent, including claim 10, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

importing the Qualcomm Accused Products, knowing them to be especially made or especially

adapted for practicing the inventions of the ʼ449 patent and not a staple article or commodity of

commerce suitable for substantial non-infringing use. This is evidenced by, among other things,

the design, configuration, and functionality of the Qualcomm Accused Products, which are

especially made or especially adapted for use in infringement of the ʼ449 patent when used for

their normal and intended purpose. This is also evidenced by, among other things, Qualcomm’s

informational and promotional materials described above, which describe the normal use and

intended purpose of the Qualcomm Accused Products and demonstrate that the Qualcomm

Accused Products are especially made or especially adapted for a use that infringes the ʼ449 patent.

       210.    On information and belief, as a result of Qualcomm’s inducement of, and/or

contribution to, infringement, its customers and/or end users made, used, sold, offered for sale, or

imported, and continue to make, use, sell, offer to sell, or import, Qualcomm’s products, including

the Qualcomm Accused Products, in ways that directly infringe one or more claims of the ʼ449

patent, including claim 10. On information and belief, Qualcomm had actual knowledge of its

customers’ and/or end users’ direct infringement at least by virtue of their sales, instruction, and/or




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otherwise promotion of Qualcomm’s products, including the Qualcomm Accused Products, at least

as of the dates of knowledge of the ’449 patent alleged above, and no later than the date of this

Complaint.

       211.    On information and belief, with knowledge of the ʼ449 patent, Qualcomm has

willfully, deliberately, and intentionally infringed the ʼ449 patent, at least as of the dates of

knowledge of the ’449 patent alleged above, and no later than the date of this Complaint, and

continues to willfully, deliberately, and intentionally infringe the ʼ449 patent. On information and

belief, Qualcomm had actual knowledge of the ʼ449 patent and Qualcomm’s infringement of the

ʼ449 patent at least as of the dates of knowledge of the ’449 patent alleged above, and no later than

the date of this Complaint. On information and belief, after acquiring that knowledge, Qualcomm

continued to directly and indirectly infringe the ʼ449 patent as set forth above. On information

and belief, Qualcomm knew or should have known that its conduct amounted to infringement of

the ʼ449 patent at least because Qualcomm was aware of the ʼ449 patent and Qualcomm’s

infringement of the ʼ449 patent at least as of the dates of knowledge of the ’449 patent alleged

above, and no later than the date of this Complaint. Qualcomm was aware of its infringement by

virtue of the ’449 patent’s fame in the semiconductor industry, Qualcomm’s expertise in the

subject matter of the ’449 patent, Qualcomm’s technical competence to understand the scope of

the ’449 patent, and Qualcomm’s intimate familiarity with its Accused Products. Additionally,

Qualcomm was aware of the ʼ449 patent, and Qualcomm’s infringement of the ʼ449 patent, at least

as of the date of this Complaint because Plaintiff notified Qualcomm of such.

       212.    On information and belief, Qualcomm will continue to infringe the ʼ449 patent

unless and until it is enjoined by this Court. Qualcomm, by way of its infringing activities, has

caused and continues to cause Plaintiff to suffer damages in an amount to be determined, and has




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caused and is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against

Qualcomm’s acts of infringement and, unless Qualcomm is enjoined from its infringement of the

ʼ449 patent, Plaintiff will continue to suffer irreparable harm.

       213.    Plaintiff is entitled to recover from Qualcomm damages at least in an amount

adequate to compensate for its infringement of the ʼ449 patent, which amount has yet to be

determined, together with interest and costs fixed by the Court.

       214.    On information and belief, Arteris has made, used, offered for sale, sold, and/or

imported products, including within this Judicial District, including at least the Arteris Accused

Products, that indirectly infringe, either literally or under the doctrine of equivalents, one or more

claims of the ʼ449 patent in violation of 35 U.S.C. § 271, including claim 10. A comparison of

claim 10 of the ’449 patent to an exemplary product of the Qualcomm Accused Products that

incorporate an exemplary product of the Arteris Accused Products is attached as Exhibit 8, which

is incorporated herein by reference.

       215.    On information and belief, with knowledge of the ʼ449 patent, Arteris has actively

induced and continues to induce the direct infringement of one or more claims of the ʼ449 patent,

including claim 10, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its

products, including at least the Arteris Accused Products, by selling, providing support for,

providing instructions for use of, and/or otherwise encouraging its customers and/or end-users to

directly infringe, either literally and/or under the doctrine of equivalents, one or more claims of

the ʼ449 patent, including claim 10, with the intent to encourage those customers and/or end users

to infringe the ʼ449 patent.

       216.    By way of example, on information and belief, Arteris actively induces

infringement of the ʼ449 patent by encouraging, instructing, and aiding one or more persons in the




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United States, including but not limited to customers and/or end users who test, operate, and use

Arteris products, including at least the Arteris Accused Products, to make, use, sell, offer to sell,

and/or import SoCs incorporating such Arteris products, including at least the Qualcomm Accused

Products, in a manner that infringes at least one claim of the ʼ449 patent, including claim 10. For

example, as described above, Arteris actively markets, advertises, offers for sale, and/or otherwise

promotes the Arteris Accused Products by publishing and distributing data sheets, manuals, and

guides for the Arteris Accused Products. Therein, on information and belief, Arteris describes and

touts the use of the subject matter claimed in the ʼ449 patent.

       217.    On information and belief, with knowledge of the ʼ449 patent, Arteris also

contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ449

patent, including claim 10, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

importing the Arteris Accused Products, knowing them to be especially made or especially adapted

for practicing the inventions of the ʼ449 patent and not a staple article or commodity of commerce

suitable for substantial non-infringing use. This is evidenced by, among other things, the design,

configuration, and functionality of the Arteris Accused Products, which are especially made or

especially adapted for use in infringement of the ʼ449 patent when used for their normal and

intended purpose. This is also evidenced by, among other things, Arteris’s informational and

promotional materials described above, which describe the normal use and intended purpose of

the Arteris Accused Products and demonstrate that the Arteris Accused Products are especially

made or especially adapted for a use that infringes the ʼ449 patent.

       218.    On information and belief, as a result of Arteris’s inducement of, and/or

contribution to, infringement, its customers and/or end users made, used, sold, offered for sale, or

imported, and continue to make, use, sell, offer to sell, or import, SoCs incorporating such Arteris




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products, including the Qualcomm Accused Products, in ways that directly infringe one or more

claims of the ʼ449 patent, including claim 10. On information and belief, Arteris had actual

knowledge of its customers’ and/or end users’ direct infringement at least by virtue of their sales,

instruction, and/or otherwise promotion of Arteris’s products, including the Arteris Accused

Products, at least as of the dates of knowledge of the ’449 patent alleged above, and no later than

the date of this Complaint.

       219.    On information and belief, with knowledge of the ʼ449 patent, Arteris has willfully,

deliberately, and intentionally infringed the ʼ449 patent, at least as of the dates of knowledge of

the ’449 patent alleged above, and no later than the date of this Complaint, and continues to

willfully, deliberately, and intentionally infringe the ʼ449 patent. On information and belief,

Arteris had actual knowledge of the ʼ449 patent and Arteris’s infringement of the ʼ449 patent at

least as of the dates of knowledge of the ’449 patent alleged above, and no later than the date of

this Complaint. On information and belief, after acquiring that knowledge, Arteris continued to

indirectly infringe the ʼ449 patent as set forth above. On information and belief, Arteris knew or

should have known that its conduct amounted to infringement of the ʼ449 patent at least because

Arteris was aware of the ʼ449 patent and Arteris’s infringement of the ʼ449 patent at least as of the

dates of knowledge of the ’449 patent alleged above, and no later than the date of this Complaint.

Arteris was aware of its infringement by virtue of the ’449 patent’s fame in the semiconductor

industry, Arteris’s expertise in the subject matter of the ’449 patent, Arteris’s technical competence

to understand the scope of the ’449 patent, and Arteris’s intimate familiarity with its Accused

Products. Additionally, Arteris was aware of the ʼ449 patent, and Arteris’s infringement of the

ʼ449 patent, at least as of the date of this Complaint because Plaintiff notified Arteris of such.

       220.    On information and belief, Arteris will continue to infringe the ʼ449 patent unless




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and until it is enjoined by this Court. Arteris, by way of its infringing activities, has caused and

continues to cause Plaintiff to suffer damages in an amount to be determined, and has caused and

is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against Arteris’s acts

of infringement and, unless Arteris is enjoined from its infringement of the ʼ449 patent, Plaintiff

will continue to suffer irreparable harm.

         221.    Plaintiff is entitled to recover from Arteris damages at least in an amount adequate

to compensate for its infringement of the ʼ449 patent, which amount has yet to be determined,

together with interest and costs fixed by the Court.

                COUNT III – INFRINGEMENT OF U.S. PATENT NO. 7,594,052

         222.    Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 221

above.

         223.    On information and belief, Qualcomm has made, used, offered for sale, sold, and/or

imported products, including within this Judicial District, including at least the Qualcomm

Accused Products, that infringe, either literally or under the doctrine of equivalents, one or more

claims of the ʼ052 patent in violation of 35 U.S.C. § 271(a), including claim 6. A comparison of

claim 6 of the ʼ052 patent to an exemplary product of the Qualcomm Accused Products is attached

as Exhibit 9, which is incorporated herein by reference.

         224.    On information and belief, with knowledge of the ʼ052 patent, Qualcomm has

actively induced and continues to induce the direct infringement of one or more claims of the ʼ052

patent, including claim 6, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of

its products, including at least the Qualcomm Accused Products, by selling, providing support for,

providing instructions for use of, and/or otherwise encouraging its customers and/or end-users to

directly infringe, either literally and/or under the doctrine of equivalents, one or more claims of




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the ʼ052 patent, including claim 6, with the intent to encourage those customers and/or end users

to infringe the ʼ052 patent.

       225.    By way of example, on information and belief, Qualcomm actively induces

infringement of the ʼ052 patent by encouraging, instructing, and aiding one or more persons in the

United States, including but not limited to customers and/or end users who test, operate, and use

Qualcomm’s products, including at least the Qualcomm Accused Products, to make, use, sell, offer

to sell, and/or import Qualcomm’s products, including at least the Qualcomm Accused Products,

in a manner that infringes at least one claim of the ʼ052 patent, including claim 6. For example,

as described above, Qualcomm actively markets, advertises, offers for sale, and/or otherwise

promotes the Qualcomm Accused Products by publishing and distributing data sheets, manuals,

and guides for the Qualcomm Accused Products. Therein, on information and belief, Qualcomm

describes and touts the use of the subject matter claimed in the ʼ052 patent.

       226.    On information and belief, with knowledge of the ʼ052 patent, Qualcomm also

contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ052

patent, including claim 6, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

importing the Qualcomm Accused Products, knowing them to be especially made or especially

adapted for practicing the inventions of the ʼ052 patent and not a staple article or commodity of

commerce suitable for substantial non-infringing use. This is evidenced by, among other things,

the design, configuration, and functionality of the Qualcomm Accused Products, which are

especially made or especially adapted for use in infringement of the ʼ052 patent when used for

their normal and intended purpose. This is also evidenced by, among other things, Qualcomm’s

informational and promotional materials described above, which describe the normal use and

intended purpose of the Qualcomm Accused Products and demonstrate that the Qualcomm




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Accused Products are especially made or especially adapted for a use that infringes the ʼ052 patent.

       227.    On information and belief, as a result of Qualcomm’s inducement of, and/or

contribution to, infringement, its customers and/or end users made, used, sold, offered for sale, or

imported, and continue to make, use, sell, offer to sell, or import, Qualcomm’s products, including

the Qualcomm Accused Products, in ways that directly infringe one or more claims of the ʼ052

patent, including claim 6. On information and belief, Qualcomm had actual knowledge of its

customers’ and/or end users’ direct infringement at least by virtue of their sales, instruction, and/or

otherwise promotion of Qualcomm’s products, including the Qualcomm Accused Products, at least

as of the dates of knowledge of the ’052 patent alleged above, and no later than the date of this

Complaint.

       228.    On information and belief, with knowledge of the ʼ052 patent, Qualcomm has

willfully, deliberately, and intentionally infringed the ʼ052 patent, at least as of the dates of

knowledge of the ’052 patent alleged above, and no later than the date of this Complaint, and

continues to willfully, deliberately, and intentionally infringe the ʼ052 patent. On information and

belief, Qualcomm had actual knowledge of the ʼ052 patent and Qualcomm’s infringement of the

ʼ052 patent at least as of the dates of knowledge of the ’052 patent alleged above, and no later than

the date of this Complaint. On information and belief, after acquiring that knowledge, Qualcomm

continued to directly and indirectly infringe the ʼ052 patent as set forth above. On information

and belief, Qualcomm knew or should have known that its conduct amounted to infringement of

the ʼ052 patent at least because Qualcomm was aware of the ʼ052 patent and Qualcomm’s

infringement of the ʼ052 patent at least as of the dates of knowledge of the ’052 patent alleged

above, and no later than the date of this Complaint. Qualcomm was aware of its infringement by

virtue of the ’052 patent’s fame in the semiconductor industry, Qualcomm’s expertise in the




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subject matter of the ’052 patent, Qualcomm’s technical competence to understand the scope of

the ’052 patent, and Qualcomm’s intimate familiarity with its Accused Products. Additionally,

Qualcomm was aware of the ʼ052 patent, and Qualcomm’s infringement of the ʼ052 patent, at least

as of the date of this Complaint because Plaintiff notified Qualcomm of such.

       229.    On information and belief, Qualcomm will continue to infringe the ʼ052 patent

unless and until it is enjoined by this Court. Qualcomm, by way of its infringing activities, has

caused and continues to cause Plaintiff to suffer damages in an amount to be determined, and has

caused and is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against

Qualcomm’s acts of infringement and, unless Qualcomm is enjoined from its infringement of the

ʼ052 patent, Plaintiff will continue to suffer irreparable harm.

       230.    Plaintiff is entitled to recover from Qualcomm damages at least in an amount

adequate to compensate for its infringement of the ʼ052 patent, which amount has yet to be

determined, together with interest and costs fixed by the Court.

       231.    On information and belief, Arteris has made, used, offered for sale, sold, and/or

imported products, including within this Judicial District, including at least the Arteris Accused

Products, that indirectly infringe, either literally or under the doctrine of equivalents, one or more

claims of the ʼ052 patent in violation of 35 U.S.C. § 271, including claim 6. A comparison of

claim 6 of the ’052 patent to an exemplary product of the Qualcomm Accused Products that

incorporate an exemplary product of the Arteris Accused Products is attached as Exhibit 9, which

is incorporated herein by reference.

       232.    On information and belief, with knowledge of the ʼ052 patent, Arteris has actively

induced and continues to induce the direct infringement of one or more claims of the ʼ052 patent,

including claim 6, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its




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products, including at least the Arteris Accused Products, by selling, providing support for,

providing instructions for use of, and/or otherwise encouraging its customers and/or end-users to

directly infringe, either literally and/or under the doctrine of equivalents, one or more claims of

the ʼ052 patent, including claim 6, with the intent to encourage those customers and/or end users

to infringe the ʼ052 patent.

       233.    By way of example, on information and belief, Arteris actively induces

infringement of the ʼ052 patent by encouraging, instructing, and aiding one or more persons in the

United States, including but not limited to customers and/or end users who test, operate, and use

Arteris products, including at least the Arteris Accused Products, to make, use, sell, offer to sell,

and/or import SoCs incorporating such Arteris products, including at least the Qualcomm Accused

Products, in a manner that infringes at least one claim of the ʼ052 patent, including claim 6. For

example, as described above, Arteris actively markets, advertises, offers for sale, and/or otherwise

promotes the Arteris Accused Products by publishing and distributing data sheets, manuals, and

guides for the Arteris Accused Products. Therein, on information and belief, Arteris describes and

touts the use of the subject matter claimed in the ʼ052 patent.

       234.    On information and belief, with knowledge of the ʼ052 patent, Arteris also

contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ052

patent, including claim 6, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

importing the Arteris Accused Products, knowing them to be especially made or especially adapted

for practicing the inventions of the ʼ052 patent and not a staple article or commodity of commerce

suitable for substantial non-infringing use. This is evidenced by, among other things, the design,

configuration, and functionality of the Arteris Accused Products, which are especially made or

especially adapted for use in infringement of the ʼ052 patent when used for their normal and




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intended purpose. This is also evidenced by, among other things, Arteris’s informational and

promotional materials described above, which describe the normal use and intended purpose of

the Arteris Accused Products and demonstrate that the Arteris Accused Products are especially

made or especially adapted for a use that infringes the ʼ052 patent.

       235.    On information and belief, as a result of Arteris’s inducement of, and/or

contribution to, infringement, its customers and/or end users made, used, sold, offered for sale, or

imported, and continue to make, use, sell, offer to sell, or import, SoCs incorporating such Arteris

products, including the Qualcomm Accused Products, in ways that directly infringe one or more

claims of the ʼ052 patent, including claim 6. On information and belief, Arteris had actual

knowledge of its customers’ and/or end users’ direct infringement at least by virtue of their sales,

instruction, and/or otherwise promotion of Arteris’s products, including the Arteris Accused

Products, at least as of the dates of knowledge of the ’052 patent alleged above, and no later than

the date of this Complaint.

       236.    On information and belief, with knowledge of the ʼ052 patent, Arteris has willfully,

deliberately, and intentionally infringed the ʼ052 patent, at least as of the dates of knowledge of

the ’052 patent alleged above, and no later than the date of this Complaint, and continues to

willfully, deliberately, and intentionally infringe the ʼ052 patent. On information and belief,

Arteris had actual knowledge of the ʼ052 patent and Arteris’s infringement of the ʼ052 patent at

least as of the dates of knowledge of the ’052 patent alleged above, and no later than the date of

this Complaint. On information and belief, after acquiring that knowledge, Arteris continued to

indirectly infringe the ʼ052 patent as set forth above. On information and belief, Arteris knew or

should have known that its conduct amounted to infringement of the ʼ052 patent at least because

Arteris was aware of the ʼ052 patent and Arteris’s infringement of the ʼ052 patent at least as of the




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dates of knowledge of the ’052 patent alleged above, and no later than the date of this Complaint.

Arteris was aware of its infringement by virtue of the ’052 patent’s fame in the semiconductor

industry, Arteris’s expertise in the subject matter of the ’052 patent, Arteris’s technical competence

to understand the scope of the ’052 patent, and Arteris’s intimate familiarity with its Accused

Products. Additionally, Arteris was aware of the ʼ052 patent, and Arteris’s infringement of the

ʼ052 patent, at least as of the date of this Complaint because Plaintiff notified Arteris of such.

         237.    On information and belief, Arteris will continue to infringe the ʼ052 patent unless

and until it is enjoined by this Court. Arteris, by way of its infringing activities, has caused and

continues to cause Plaintiff to suffer damages in an amount to be determined, and has caused and

is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against Arteris’s acts

of infringement and, unless Arteris is enjoined from its infringement of the ʼ052 patent, Plaintiff

will continue to suffer irreparable harm.

         238.    Plaintiff is entitled to recover from Arteris damages at least in an amount adequate

to compensate for its infringement of the ʼ052 patent, which amount has yet to be determined,

together with interest and costs fixed by the Court.

                COUNT IV – INFRINGEMENT OF U.S. PATENT NO. 7,769,893

         239.    Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 238

above.

         240.    On information and belief, Qualcomm has made, used, offered for sale, sold, and/or

imported products, including within this Judicial District, including at least the Qualcomm

Accused Products, that infringe, either literally or under the doctrine of equivalents, one or more

claims of the ʼ9893 patent in violation of 35 U.S.C. § 271(a), including claim 4. A comparison of

claim 4 of the ʼ9893 patent to an exemplary product of the Qualcomm Accused Products is attached




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as Exhibit 10, which is incorporated herein by reference.

       241.    On information and belief, with knowledge of the ʼ9893 patent, Qualcomm has

actively induced and continues to induce the direct infringement of one or more claims of the ʼ9893

patent, including claim 4, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of

its products, including at least the Qualcomm Accused Products, by selling, providing support for,

providing instructions for use of, and/or otherwise encouraging its customers and/or end-users to

directly infringe, either literally and/or under the doctrine of equivalents, one or more claims of

the ʼ9893 patent, including claim 4, with the intent to encourage those customers and/or end users

to infringe the ʼ9893 patent.

       242.    By way of example, on information and belief, Qualcomm actively induces

infringement of the ʼ9893 patent by encouraging, instructing, and aiding one or more persons in

the United States, including but not limited to customers and/or end users who test, operate, and

use Qualcomm’s products, including at least the Qualcomm Accused Products, to make, use, sell,

offer to sell, and/or import Qualcomm’s products, including at least the Qualcomm Accused

Products, in a manner that infringes at least one claim of the ʼ9893 patent, including claim 4. For

example, as described above, Qualcomm actively markets, advertises, offers for sale, and/or

otherwise promotes the Qualcomm Accused Products by publishing and distributing data sheets,

manuals, and guides for the Qualcomm Accused Products. Therein, on information and belief,

Qualcomm describes and touts the use of the subject matter claimed in the ʼ9893 patent.

       243.    On information and belief, with knowledge of the ʼ9893 patent, Qualcomm also

contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ9893

patent, including claim 4, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

importing the Qualcomm Accused Products, knowing them to be especially made or especially




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adapted for practicing the inventions of the ʼ9893 patent and not a staple article or commodity of

commerce suitable for substantial non-infringing use. This is evidenced by, among other things,

the design, configuration, and functionality of the Qualcomm Accused Products, which are

especially made or especially adapted for use in infringement of the ʼ9893 patent when used for

their normal and intended purpose. This is also evidenced by, among other things, Qualcomm’s

informational and promotional materials described above, which describe the normal use and

intended purpose of the Qualcomm Accused Products and demonstrate that the Qualcomm

Accused Products are especially made or especially adapted for a use that infringes the ʼ9893

patent.

          244.   On information and belief, as a result of Qualcomm’s inducement of, and/or

contribution to, infringement, its customers and/or end users made, used, sold, offered for sale, or

imported, and continue to make, use, sell, offer to sell, or import, Qualcomm’s products, including

the Qualcomm Accused Products, in ways that directly infringe one or more claims of the ʼ9893

patent, including claim 4. On information and belief, Qualcomm had actual knowledge of its

customers’ and/or end users’ direct infringement at least by virtue of their sales, instruction, and/or

otherwise promotion of Qualcomm’s products, including the Qualcomm Accused Products, at least

as of the dates of knowledge of the ʼ9893 patent alleged above, and no later than the date of this

Complaint.

          245.   On information and belief, with knowledge of the ʼ9893 patent, Qualcomm has

willfully, deliberately, and intentionally infringed the ʼ9893 patent, at least as of the dates of

knowledge of the ʼ9893 patent alleged above, and no later than the date of this Complaint, and

continues to willfully, deliberately, and intentionally infringe the ʼ9893 patent. On information

and belief, Qualcomm had actual knowledge of the ʼ9893 patent and Qualcomm’s infringement of




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the ʼ9893 patent at least as of the dates of knowledge of the ʼ9893 patent alleged above, and no

later than the date of this Complaint. On information and belief, after acquiring that knowledge,

Qualcomm continued to directly and indirectly infringe the ʼ9893 patent as set forth above. On

information and belief, Qualcomm knew or should have known that its conduct amounted to

infringement of the ʼ9893 patent at least because Qualcomm was aware of the ʼ9893 patent and

Qualcomm’s infringement of the ʼ9893 patent at least as of the dates of knowledge of the ’9893

patent alleged above, and no later than the date of this Complaint. Qualcomm was aware of its

infringement by virtue of the ’9893 patent’s fame in the semiconductor industry, Qualcomm’s

expertise in the subject matter of the ’9893 patent, Qualcomm’s technical competence to

understand the scope of the ’9893 patent, and Qualcomm’s intimate familiarity with its Accused

Products. Additionally, Qualcomm was aware of the ʼ9893 patent, and Qualcomm’s infringement

of the ʼ9893 patent, at least as of the date of this Complaint because Plaintiff notified Qualcomm

of such.

       246.    On information and belief, Qualcomm will continue to infringe the ʼ9893 patent

unless and until it is enjoined by this Court. Qualcomm, by way of its infringing activities, has

caused and continues to cause Plaintiff to suffer damages in an amount to be determined, and has

caused and is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against

Qualcomm’s acts of infringement and, unless Qualcomm is enjoined from its infringement of the

ʼ9893 patent, Plaintiff will continue to suffer irreparable harm.

       247.    Plaintiff is entitled to recover from Qualcomm damages at least in an amount

adequate to compensate for its infringement of the ʼ9893 patent, which amount has yet to be

determined, together with interest and costs fixed by the Court.

       248.    On information and belief, Arteris has made, used, offered for sale, sold, and/or




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imported products, including within this Judicial District, including at least the Arteris Accused

Products, that indirectly infringe, either literally or under the doctrine of equivalents, one or more

claims of the ʼ9893 patent in violation of 35 U.S.C. § 271, including claim 4. A comparison of

claim 4 of the ʼ9893 patent to an exemplary product of the Qualcomm Accused Products that

incorporate an exemplary product of the Arteris Accused Products is attached as Exhibit 10, which

is incorporated herein by reference.

       249.    On information and belief, with knowledge of the ʼ9893 patent, Arteris has actively

induced and continues to induce the direct infringement of one or more claims of the ʼ9893 patent,

including claim 4, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its

products, including at least the Arteris Accused Products, by selling, providing support for,

providing instructions for use of, and/or otherwise encouraging its customers and/or end-users to

directly infringe, either literally and/or under the doctrine of equivalents, one or more claims of

the ʼ9893 patent, including claim 4, with the intent to encourage those customers and/or end users

to infringe the ʼ9893 patent.

       250.    By way of example, on information and belief, Arteris actively induces

infringement of the ʼ9893 patent by encouraging, instructing, and aiding one or more persons in

the United States, including but not limited to customers and/or end users who test, operate, and

use Arteris products, including at least the Arteris Accused Products, to make, use, sell, offer to

sell, and/or import SoCs incorporating such Arteris products, including at least the Qualcomm

Accused Products, in a manner that infringes at least one claim of the ʼ9893 patent, including claim

4. For example, as described above, Arteris actively markets, advertises, offers for sale, and/or

otherwise promotes the Arteris Accused Products by publishing and distributing data sheets,

manuals, and guides for the Arteris Accused Products. Therein, on information and belief, Arteris




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describes and touts the use of the subject matter claimed in the ʼ9893 patent.

       251.    On information and belief, with knowledge of the ʼ9893 patent, Arteris also

contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ9893

patent, including claim 4, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

importing the Arteris Accused Products, knowing them to be especially made or especially adapted

for practicing the inventions of the ʼ9893 patent and not a staple article or commodity of commerce

suitable for substantial non-infringing use. This is evidenced by, among other things, the design,

configuration, and functionality of the Arteris Accused Products, which are especially made or

especially adapted for use in infringement of the ʼ9893 patent when used for their normal and

intended purpose. This is also evidenced by, among other things, Arteris’s informational and

promotional materials described above, which describe the normal use and intended purpose of

the Arteris Accused Products and demonstrate that the Arteris Accused Products are especially

made or especially adapted for a use that infringes the ʼ9893 patent.

       252.    On information and belief, as a result of Arteris’s inducement of, and/or

contribution to, infringement, its customers and/or end users made, used, sold, offered for sale, or

imported, and continue to make, use, sell, offer to sell, or import, SoCs incorporating such Arteris

products, including the Qualcomm Accused Products, in ways that directly infringe one or more

claims of the ʼ9893 patent, including claim 4. On information and belief, Arteris had actual

knowledge of its customers’ and/or end users’ direct infringement at least by virtue of their sales,

instruction, and/or otherwise promotion of Arteris’s products, including the Arteris Accused

Products, at least as of the dates of knowledge of the ʼ9893 patent alleged above, and no later than

the date of this Complaint.

       253.    On information and belief, with knowledge of the ʼ9893 patent, Arteris has




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willfully, deliberately, and intentionally infringed the ʼ9893 patent, at least as of the dates of

knowledge of the ʼ9893 patent alleged above, and no later than the date of this Complaint, and

continues to willfully, deliberately, and intentionally infringe the ʼ9893 patent. On information

and belief, Arteris had actual knowledge of the ʼ9893 patent and Arteris’s infringement of the

ʼ9893 patent at least as of the dates of knowledge of the ʼ9893 patent alleged above, and no later

than the date of this Complaint. On information and belief, after acquiring that knowledge, Arteris

continued to indirectly infringe the ʼ9893 patent as set forth above. On information and belief,

Arteris knew or should have known that its conduct amounted to infringement of the ʼ9893 patent

at least because Arteris was aware of the ʼ9893 patent and Arteris’s infringement of the ʼ9893

patent at least as of the dates of knowledge of the ’9893 patent alleged above, and no later than the

date of this Complaint. Arteris was aware of its infringement by virtue of the ’9893 patent’s fame

in the semiconductor industry, Arteris’s expertise in the subject matter of the ’9893 patent,

Arteris’s technical competence to understand the scope of the ’9893 patent, and Arteris’s intimate

familiarity with its Accused Products. Additionally, Arteris was aware of the ’9893 patent, and

Arteris’s infringement of the ’9893 patent, at least as of the date of this Complaint because Plaintiff

notified Arteris of such.

       254.    On information and belief, Arteris will continue to infringe the ʼ9893 patent unless

and until it is enjoined by this Court. Arteris, by way of its infringing activities, has caused and

continues to cause Plaintiff to suffer damages in an amount to be determined, and has caused and

is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against Arteris’s acts

of infringement and, unless Arteris is enjoined from its infringement of the ʼ9893 patent, Plaintiff

will continue to suffer irreparable harm.

       255.    Plaintiff is entitled to recover from Arteris damages at least in an amount adequate




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to compensate for its infringement of the ʼ9893 patent, which amount has yet to be determined,

together with interest and costs fixed by the Court.

                COUNT V – INFRINGEMENT OF U.S. PATENT NO. 8,072,893

         256.   Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 255

above.

         257.   On information and belief, Qualcomm has made, used, offered for sale, sold, and/or

imported products, including within this Judicial District, including at least the Qualcomm

Accused Products, made or designed by processes that infringe, either literally or under the

doctrine of equivalents, one or more claims of the ʼ2893 patent in violation of 35 U.S.C. § 271(a)

and/or § 271(g), including claim 10. A comparison of claim 10 of the ʼ2893 patent to an exemplary

product of the Qualcomm Accused Products made or designed by infringing processes is attached

as Exhibit 11, which is incorporated herein by reference.

         258.   On information and belief, with knowledge of the ʼ2893 patent, Qualcomm has

actively induced and continues to induce the direct infringement of one or more claims of the ʼ2893

patent, including claim 10, in violation of 35 U.S.C. § 271(b), by its suppliers, customers, and/or

end users of its products, including at least the Qualcomm Accused Products, by selling, designing,

providing support for, providing designs and/or specifications for, providing instructions for use

of, and/or otherwise encouraging its suppliers, customers, and/or end-users to directly infringe,

either literally and/or under the doctrine of equivalents, one or more claims of the ʼ2893 patent,

including claim 10, with the intent to encourage those customers and/or end users to infringe the

ʼ2893 patent.

         259.   By way of example, on information and belief, Qualcomm actively induces

infringement of the ʼ2893 patent by encouraging, instructing, and aiding one or more persons in




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the United States, including but not limited to suppliers who supply and/or design components (for

example, semiconductor IPs) of, test, operate, and/or use Qualcomm’s products, including at least

the Qualcomm Accused Products or components thereof (for example, semiconductor IPs), to

make, use, sell, offer to sell, and/or import Qualcomm’s products, including at least the Qualcomm

Accused Products or components thereof (for example, semiconductor IPs), in a manner that

infringes at least one claim of the ʼ2893 patent, including claim 10. For example, as described

above, Qualcomm actively markets, advertises, offers for sale, and/or otherwise promotes the

Qualcomm Accused Products by publishing and distributing data sheets, manuals, and guides for

the Qualcomm Accused Products. Additionally, on information and belief, Qualcomm provides

its suppliers with specifications and/or designs for components, including by way of example,

semiconductor IPs, for the Qualcomm Accused Products. Therein, on information and belief,

Qualcomm describes, encourages, and touts the use of the subject matter claimed in the ʼ2893

patent.

          260.   On information and belief, with knowledge of the ʼ2893 patent, Qualcomm also

contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ2893

patent, including claim 10, in violation of 35 U.S.C. § 271(c), by providing specifications and/or

designs for the Qualcomm Accused Products or components thereof (for example, semiconductor

IPs), knowing them to be especially made or especially adapted for practicing the inventions of

the ʼ2893 patent and not a staple article or commodity of commerce suitable for substantial non-

infringing use.    This is evidenced by, among other things, the design, configuration, and

functionality of the specifications and/or designs for Qualcomm Accused Products or components

thereof (for example, semiconductor IPs), which are especially made or especially adapted for use

in infringement of the ʼ2893 patent when used for their normal and intended purpose. This is also




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evidenced by, among other things, the normal use and intended purpose of the specifications and/or

designs for the Qualcomm Accused Products or components thereof (for example, semiconductor

IPs), which demonstrate that the specifications and/or designs for the Qualcomm Accused Products

or components thereof (for example, semiconductor IPs) are especially made or especially adapted

for a use that infringes the ʼ2893 patent.

        261.     On information and belief, as a result of Qualcomm’s inducement of, and/or

contribution to, infringement, its suppliers, customers, and/or end users designed, made, used, sold,

offered for sale, or imported, and continue to make, use, sell, offer to sell, or import, Qualcomm’s

products, including the Qualcomm Accused Products or components thereof (for example,

semiconductor IPs), in ways that directly infringe one or more claims of the ʼ2893 patent, including

claim 10.      On information and belief, Qualcomm had actual knowledge of its suppliers’,

customers’, and/or end users’ direct infringement at least by virtue of their sales, instruction, and/or

otherwise promotion of Qualcomm’s products, including the Qualcomm Accused Products or

components thereof (for example, semiconductor IPs), at least as of the dates of knowledge of the

ʼ2893 patent alleged above, and no later than the date of this Complaint.

        262.     On information and belief, with knowledge of the ʼ2893 patent, Qualcomm has

willfully, deliberately, and intentionally infringed the ʼ2893 patent, at least as of the dates of

knowledge of the ʼ2893 patent alleged above, and no later than the date of this Complaint, and

continues to willfully, deliberately, and intentionally infringe the ʼ2893 patent. On information

and belief, Qualcomm had actual knowledge of the ʼ2893 patent and Qualcomm’s infringement of

the ʼ2893 patent at least as of the dates of knowledge of the ʼ2893 patent alleged above, and no

later than the date of this Complaint. On information and belief, after acquiring that knowledge,

Qualcomm continued to directly and indirectly infringe the ʼ2893 patent as set forth above. On




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information and belief, Qualcomm knew or should have known that its conduct amounted to

infringement of the ʼ2893 patent at least because Qualcomm was aware of the ʼ2893 patent and

Qualcomm’s infringement of the ʼ2893 patent at least as of the dates of knowledge of the ’2893

patent alleged above, and no later than date of this Complaint. Qualcomm was aware of its

infringement by virtue of the ’2893 patent’s fame in the semiconductor industry, Qualcomm’s

expertise in the subject matter of the ’2893 patent, Qualcomm’s technical competence to

understand the scope of the ’2893 patent, and Qualcomm’s intimate familiarity with its Accused

Products. Additionally, Qualcomm was aware of the ʼ2893 patent, and Qualcomm’s infringement

of the ʼ2893 patent, at least as of the date of this Complaint because Plaintiff notified Qualcomm

of such.

       263.    On information and belief, Qualcomm will continue to infringe the ʼ2893 patent

unless and until it is enjoined by this Court. Qualcomm, by way of its infringing activities, has

caused and continues to cause Plaintiff to suffer damages in an amount to be determined, and has

caused and is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against

Qualcomm’s acts of infringement and, unless Qualcomm is enjoined from its infringement of the

ʼ2893 patent, Plaintiff will continue to suffer irreparable harm.

       264.    Plaintiff is entitled to recover from Qualcomm damages at least in an amount

adequate to compensate for its infringement of the ʼ2893 patent, which amount has yet to be

determined, together with interest and costs fixed by the Court.

       265.    On information and belief, Arteris has made, used, offered for sale, sold, and/or

imported products, including within this Judicial District, including at least the Arteris Accused

Products, made or designed by processes that infringe, either literally or under the doctrine of

equivalents, one or more claims of the ʼ2893 patent in violation of 35 U.S.C. § 271(a) and/or §




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271(g), including claim 10. A comparison of claim 10 of the ʼ2893 patent to an exemplary product

of the Qualcomm Accused Products that incorporate an exemplary product of the Arteris Accused

Products made or designed by infringing processes is attached as Exhibit 11, which is incorporated

herein by reference.

          266.   On information and belief, with knowledge of the ʼ2893 patent, Arteris has actively

induced and continues to induce the direct infringement of one or more claims of the ʼ2893 patent,

including claim 10, in violation of 35 U.S.C. § 271(b), by its suppliers, customers, and/or end users

of its products, including at least the Arteris Accused Products, by selling, designing, providing

support for, providing designs and/or specifications for, providing instructions for use of, and/or

otherwise encouraging its suppliers, customers, and/or end-users to directly infringe, either

literally and/or under the doctrine of equivalents, one or more claims of the ʼ2893 patent, including

claim 10, with the intent to encourage those customers and/or end users to infringe the ʼ2893

patent.

          267.   By way of example, on information and belief, Arteris actively induces

infringement of the ʼ2893 patent by encouraging, instructing, and aiding one or more persons in

the United States, including but not limited to customers and/or end users who test, operate, and

use Arteris products, including at least the Arteris Accused Products, to make, use, sell, offer to

sell, and/or import SoCs incorporating such Arteris products, including at least the Qualcomm

Accused Products, in a manner that infringes at least one claim of the ʼ2893 patent, including claim

10. For example, as described above, Arteris actively markets, advertises, offers for sale, and/or

otherwise promotes the Arteris Accused Products by publishing and distributing data sheets,

manuals, and guides for the Arteris Accused Products. Therein, on information and belief, Arteris

describes and touts the use of the subject matter claimed in the ʼ2893 patent.




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       268.    On information and belief, with knowledge of the ʼ2893 patent, Arteris also

contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ2893

patent, including claim 10, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

importing the Arteris Accused Products, knowing them to be especially made or especially adapted

for practicing the inventions of the ʼ2893 patent and not a staple article or commodity of commerce

suitable for substantial non-infringing use. This is evidenced by, among other things, the design,

configuration, and functionality of the Arteris Accused Products, which are especially made or

especially adapted for use in infringement of the ʼ2893 patent when used for their normal and

intended purpose. This is also evidenced by, among other things, Arteris’s informational and

promotional materials described above, which describe the normal use and intended purpose of

the Arteris Accused Products and demonstrate that the Arteris Accused Products are especially

made or especially adapted for a use that infringes the ʼ2893 patent.

       269.    On information and belief, as a result of Arteris’s inducement of, and/or

contribution to, infringement, its customers and/or end users made, used, sold, offered for sale, or

imported, and continue to make, use, sell, offer to sell, or import, SoCs incorporating such Arteris

products, including the Qualcomm Accused Products, in ways that directly infringe one or more

claims of the ʼ2893 patent, including claim 10. On information and belief, Arteris had actual

knowledge of its customers’ and/or end users’ direct infringement at least by virtue of their sales,

instruction, and/or otherwise promotion of Arteris’s products, including the Arteris Accused

Products, at least as of the dates of knowledge of the ʼ2893 patent alleged above, and no later than

the date of this Complaint.

       270.    On information and belief, with knowledge of the ʼ2893 patent, Arteris has

willfully, deliberately, and intentionally infringed the ʼ2893 patent, at least as of the dates of




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knowledge of the ʼ2893 patent alleged above, and no later than the date of this Complaint, and

continues to willfully, deliberately, and intentionally infringe the ʼ2893 patent. On information

and belief, Arteris had actual knowledge of the ʼ2893 patent and Arteris’s infringement of the

ʼ2893 patent at least as of the dates of knowledge of the ʼ2893 patent alleged above, and no later

than the date of this Complaint. On information and belief, after acquiring that knowledge, Arteris

continued to indirectly infringe the ʼ2893 patent as set forth above. On information and belief,

Arteris knew or should have known that its conduct amounted to infringement of the ʼ2893 patent

at least because Arteris was aware of the ʼ2893 patent and Arteris’s infringement of the ʼ2893

patent at least as of the dates of knowledge of the ’2893 patent alleged above, and no later than the

date of this Complaint. Arteris was aware of its infringement by virtue of the ’2893 patent’s fame

in the semiconductor industry, Arteris’s expertise in the subject matter of the ’2893 patent,

Arteris’s technical competence to understand the scope of the ’2893 patent, and Arteris’s intimate

familiarity with its Accused Products. Additionally, Arteris was aware of the ’2893 patent, and

Arteris’s infringement of the ’2893 patent, at least as of the date of this Complaint because Plaintiff

notified Arteris of such.

       271.    On information and belief, Arteris will continue to infringe the ʼ2893 patent unless

and until it is enjoined by this Court. Arteris, by way of its infringing activities, has caused and

continues to cause Plaintiff to suffer damages in an amount to be determined, and has caused and

is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against Arteris’s acts

of infringement and, unless Arteris is enjoined from its infringement of the ʼ2893 patent, Plaintiff

will continue to suffer irreparable harm.

       272.    Plaintiff is entitled to recover from Arteris damages at least in an amount adequate

to compensate for its infringement of the ʼ2893 patent, which amount has yet to be determined,




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together with interest and costs fixed by the Court.

                COUNT VI – INFRINGEMENT OF U.S. PATENT NO. 8,086,800

         273.    Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 272

above.

         274.    On information and belief, Qualcomm has made, used, offered for sale, sold, and/or

imported products, including within this Judicial District, including at least the Qualcomm

Accused Products, that infringe, either literally or under the doctrine of equivalents, one or more

claims of the ʼ800 patent in violation of 35 U.S.C. § 271(a), including claim 10. A comparison of

claim 10 of the ʼ800 patent to an exemplary product of the Qualcomm Accused Products is attached

as Exhibit 12, which is incorporated herein by reference.

         275.    On information and belief, with knowledge of the ʼ800 patent, Qualcomm has

actively induced and continues to induce the direct infringement of one or more claims of the ʼ800

patent, including claim 10, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of

its products, including at least the Qualcomm Accused Products, by selling, providing support for,

providing instructions for use of, and/or otherwise encouraging its customers and/or end-users to

directly infringe, either literally and/or under the doctrine of equivalents, one or more claims of

the ʼ800 patent, including claim 10, with the intent to encourage those customers and/or end users

to infringe the ʼ800 patent.

         276.    By way of example, on information and belief, Qualcomm actively induces

infringement of the ʼ800 patent by encouraging, instructing, and aiding one or more persons in the

United States, including but not limited to customers and/or end users who test, operate, and use

Qualcomm’s products, including at least the Qualcomm Accused Products, to make, use, sell, offer

to sell, and/or import Qualcomm’s products, including at least the Qualcomm Accused Products,




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in a manner that infringes at least one claim of the ʼ800 patent, including claim 10. For example,

as described above, Qualcomm actively markets, advertises, offers for sale, and/or otherwise

promotes the Qualcomm Accused Products by publishing and distributing data sheets, manuals,

and guides for the Qualcomm Accused Products. Therein, on information and belief, Qualcomm

describes and touts the use of the subject matter claimed in the ʼ800 patent.

       277.    On information and belief, with knowledge of the ʼ800 patent, Qualcomm also

contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ800

patent, including claim 10, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

importing the Qualcomm Accused Products, knowing them to be especially made or especially

adapted for practicing the inventions of the ʼ800 patent and not a staple article or commodity of

commerce suitable for substantial non-infringing use. This is evidenced by, among other things,

the design, configuration, and functionality of the Qualcomm Accused Products, which are

especially made or especially adapted for use in infringement of the ʼ800 patent when used for

their normal and intended purpose. This is also evidenced by, among other things, Qualcomm’s

informational and promotional materials described above, which describe the normal use and

intended purpose of the Qualcomm Accused Products and demonstrate that the Qualcomm

Accused Products are especially made or especially adapted for a use that infringes the ʼ800 patent.

       278.    On information and belief, as a result of Qualcomm’s inducement of, and/or

contribution to, infringement, its customers and/or end users made, used, sold, offered for sale, or

imported, and continue to make, use, sell, offer to sell, or import, Qualcomm’s products, including

the Qualcomm Accused Products, in ways that directly infringe one or more claims of the ʼ800

patent, including claim 10. On information and belief, Qualcomm had actual knowledge of its

customers’ and/or end users’ direct infringement at least by virtue of their sales, instruction, and/or




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otherwise promotion of Qualcomm’s products, including the Qualcomm Accused Products, at least

as of the dates of knowledge of the ʼ800 patent alleged above, and no later than the date of this

Complaint.

       279.    On information and belief, with knowledge of the ʼ800 patent, Qualcomm has

willfully, deliberately, and intentionally infringed the ʼ800 patent, at least as of the dates of

knowledge of the ʼ800 patent alleged above, and no later than the date of this Complaint, and

continues to willfully, deliberately, and intentionally infringe the ʼ800 patent. On information and

belief, Qualcomm had actual knowledge of the ʼ800 patent and Qualcomm’s infringement of the

ʼ800 patent at least as of the dates of knowledge of the ʼ800 patent alleged above, and no later than

the date of this Complaint. On information and belief, after acquiring that knowledge, Qualcomm

continued to directly and indirectly infringe the ʼ800 patent as set forth above. On information

and belief, Qualcomm knew or should have known that its conduct amounted to infringement of

the ʼ800 patent at least because Qualcomm was aware of the ʼ800 patent and Qualcomm’s

infringement of the ʼ800 patent at least as of the dates of knowledge of the ’800 patent alleged

above, and no later than the date of this Complaint. Qualcomm was aware of its infringement by

virtue of the ’800 patent’s fame in the semiconductor industry, Qualcomm’s expertise in the

subject matter of the ’800 patent, Qualcomm’s technical competence to understand the scope of

the ’800 patent, and Qualcomm’s intimate familiarity with its Accused Products. Additionally,

Qualcomm was aware of the ʼ800 patent, and Qualcomm’s infringement of the ʼ800 patent, at least

as of the date of this Complaint because Plaintiff notified Qualcomm of such.

       280.    On information and belief, Qualcomm will continue to infringe the ʼ800 patent

unless and until it is enjoined by this Court. Qualcomm, by way of its infringing activities, has

caused and continues to cause Plaintiff to suffer damages in an amount to be determined, and has




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caused and is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against

Qualcomm’s acts of infringement and, unless Qualcomm is enjoined from its infringement of the

ʼ800 patent, Plaintiff will continue to suffer irreparable harm.

       281.    Plaintiff is entitled to recover from Qualcomm damages at least in an amount

adequate to compensate for its infringement of the ʼ800 patent, which amount has yet to be

determined, together with interest and costs fixed by the Court.

       282.    On information and belief, Arteris has made, used, offered for sale, sold, and/or

imported products, including within this Judicial District, including at least the Arteris Accused

Products, that indirectly infringe, either literally or under the doctrine of equivalents, one or more

claims of the ʼ800 patent in violation of 35 U.S.C. § 271, including claim 10. A comparison of

claim 10 of the ʼ800 patent to an exemplary product of the Qualcomm Accused Products that

incorporate an exemplary product of the Arteris Accused Products is attached as Exhibit 12, which

is incorporated herein by reference.

       283.    On information and belief, with knowledge of the ʼ800 patent, Arteris has actively

induced and continues to induce the direct infringement of one or more claims of the ʼ800 patent,

including claim 10, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its

products, including at least the Arteris Accused Products, by selling, providing support for,

providing instructions for use of, and/or otherwise encouraging its customers and/or end-users to

directly infringe, either literally and/or under the doctrine of equivalents, one or more claims of

the ʼ800 patent, including claim 10, with the intent to encourage those customers and/or end users

to infringe the ʼ800 patent.

       284.    By way of example, on information and belief, Arteris actively induces

infringement of the ʼ800 patent by encouraging, instructing, and aiding one or more persons in the




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United States, including but not limited to customers and/or end users who test, operate, and use

Arteris products, including at least the Arteris Accused Products, to make, use, sell, offer to sell,

and/or import SoCs incorporating such Arteris products, including at least the Qualcomm Accused

Products, in a manner that infringes at least one claim of the ʼ800 patent, including claim 10. For

example, as described above, Arteris actively markets, advertises, offers for sale, and/or otherwise

promotes the Arteris Accused Products by publishing and distributing data sheets, manuals, and

guides for the Arteris Accused Products. Therein, on information and belief, Arteris describes and

touts the use of the subject matter claimed in the ʼ800 patent.

       285.    On information and belief, with knowledge of the ʼ800 patent, Arteris also

contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ800

patent, including claim 10, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

importing the Arteris Accused Products, knowing them to be especially made or especially adapted

for practicing the inventions of the ʼ800 patent and not a staple article or commodity of commerce

suitable for substantial non-infringing use. This is evidenced by, among other things, the design,

configuration, and functionality of the Arteris Accused Products, which are especially made or

especially adapted for use in infringement of the ʼ800 patent when used for their normal and

intended purpose. This is also evidenced by, among other things, Arteris’s informational and

promotional materials described above, which describe the normal use and intended purpose of

the Arteris Accused Products and demonstrate that the Arteris Accused Products are especially

made or especially adapted for a use that infringes the ʼ800 patent.

       286.    On information and belief, as a result of Arteris’s inducement of, and/or

contribution to, infringement, its customers and/or end users made, used, sold, offered for sale, or

imported, and continue to make, use, sell, offer to sell, or import, SoCs incorporating such Arteris




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products, including the Qualcomm Accused Products, in ways that directly infringe one or more

claims of the ʼ800 patent, including claim 10. On information and belief, Arteris had actual

knowledge of its customers’ and/or end users’ direct infringement at least by virtue of their sales,

instruction, and/or otherwise promotion of Arteris’s products, including the Arteris Accused

Products, at least as of the dates of knowledge of the ʼ800 patent alleged above, and no later than

the date of this Complaint.

       287.    On information and belief, with knowledge of the ʼ800 patent, Arteris has willfully,

deliberately, and intentionally infringed the ʼ800 patent, at least as of the dates of knowledge of

the ʼ800 patent alleged above, and no later than the date of this Complaint, and continues to

willfully, deliberately, and intentionally infringe the ʼ800 patent. On information and belief,

Arteris had actual knowledge of the ʼ800 patent and Arteris’s infringement of the ʼ800 patent at

least as of the dates of knowledge of the ʼ800 patent alleged above, and no later than the date of

this Complaint. On information and belief, after acquiring that knowledge, Arteris continued to

indirectly infringe the ʼ800 patent as set forth above. On information and belief, Arteris knew or

should have known that its conduct amounted to infringement of the ʼ800 patent at least because

Arteris was aware of the ʼ800 patent and Arteris’s infringement of the ʼ800 patent at least as of the

dates of knowledge of the ’800 patent alleged above, and no later than the date of this Complaint.

Arteris was aware of its infringement by virtue of the ’800 patent’s fame in the semiconductor

industry, Arteris’s expertise in the subject matter of the ’800 patent, Arteris’s technical competence

to understand the scope of the ’800 patent, and Arteris’s intimate familiarity with its Accused

Products. Additionally, Arteris was aware of the ’800 patent, and Arteris’s infringement of the

’800 patent, at least as of the date of this Complaint because Plaintiff notified Arteris of such.

       288.    On information and belief, Arteris will continue to infringe the ʼ800 patent unless




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and until it is enjoined by this Court. Arteris, by way of its infringing activities, has caused and

continues to cause Plaintiff to suffer damages in an amount to be determined, and has caused and

is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against Arteris’s acts

of infringement and, unless Arteris is enjoined from its infringement of the ʼ800 patent, Plaintiff

will continue to suffer irreparable harm.

          289.   Plaintiff is entitled to recover from Arteris damages at least in an amount adequate

to compensate for its infringement of the ʼ800 patent, which amount has yet to be determined,

together with interest and costs fixed by the Court.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Network System Technologies, LLC requests that the Court enter

judgment for Plaintiff and against Defendants Qualcomm and Arteris and enter the following

relief:

          A.     A judgment that Defendants infringe the following Asserted Patents:

                      U.S. Patent No. 7,366,818 (Exhibit 1, “’818 patent”)
                      U.S. Patent No. 7,373,449 (Exhibit 2, “’449 patent”)
                      U.S. Patent No. 7,594,052 (Exhibit 3, “’052 patent”)
                      U.S. Patent No. 7,769,893 (Exhibit 4, “’9893 patent”)
                      U.S. Patent No. 8,072,893 (Exhibit 5, “’2893 patent”)
                      U.S. Patent No. 8,086,800 (Exhibit 6, “’800 patent”)

          B.     A preliminary and permanent injunction restraining and enjoining Defendants, their

officers, partners, agents, servants, employees, parents, subsidiaries, divisions, affiliate

corporations, joint ventures, other related business entities and all other persons acting in concert,

participation, or in privity with them, and their successors and assigns, from infringing the Asserted

Patents;

          C.     An award of damages to Plaintiff arising from Defendants’ past and continuing

infringement up until the date Defendants are finally and permanently enjoined from further


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infringement, including compensatory damages;

       D.      A determination that Defendants’ infringement of the Asserted Patents has been

willful, and an award of treble damages to Plaintiff pursuant to 35 U.S.C. § 284;

       E.      A determination that this is an exceptional case and awarding Plaintiff’s attorneys’

fees pursuant to 35 U.S.C. § 285;

       F.      An order awarding Plaintiff costs and expenses in this action;

       G.      An order awarding Plaintiff pre- and post-judgment interest on its damages; and

       H.      Such other and further relief in law or in equity as this Court deems just and proper.

                                          JURY DEMAND

       Plaintiff respectfully requests a jury trial on all issues so triable.


 Dated: December 19, 2022                           Respectfully submitted,

                                                    /s/ William E. Davis, III

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